Ex. 6
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                                                                    onebeaconhc.com




        RE:    Medical Facilities Liability Coverage
               Sonic Healthcare Investments, G.P.
                                                                                                 Policy

          06.26.2017          Account No: 34379                        Policy No: MFL-004062-0617




                                                                                       877.701.0171 t
                                             199 Scott Swamp Road
                                             Farmington, CT 06032                      866.625.3590 f




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     Welcome to OneBeacon Healthcare Group™.

     Thank you for choosing a member company 1 of OneBeacon Insurance Group, Ltd. as your liability insurance
     carrier.


     At OneBeacon Healthcare Group we take a unique approach with helping policyholders manage risk and advance
     patient safety by providing them with a broad range of practical and effective tools and resources. Our industry -
     leading in-house and external consultants have decades of risk management experience. Talk with us about your
     challenges and risk exposures and we’ll assist you with possible strategies and solutions.


     Risk Management Information and Support at Your Fingertips
     As an added value to a professional liability policy we are pleased to offer the following resources, many of which
     are already included in the policy’s cost!


     Resources Include:
         • Exclusive website: a policyholders-only risk management portal page with dozens of resources for all
              healthcare settings.
         •    AboutRisk® Learning Webinar Series: interactive webinars presented monthly, most with continuing
              education credits available.
         •    AboutRisk Learning Library: an extensive selection of pre-recorded educational sessions available on
              demand for risk manager, staff or leadership continuing education.
         •    AboutRisk Learning Course: unique, web-based fundamentals in healthcare risk management training
              course, with dedicated faculty support.
         •    Consultative Services: access to specialty-focused healthcare risk management professionals including
              The Rozovsky Group, The Virtual Group, Robinson+Cole, LLC and the OneBeacon Healthcare Group LTC
              Consultant Team.
         •    Electronic Assessments: custom created by OneBeacon’s risk management consultants with over a
              dozen different assessments for you to choose from. These tools provide an opportunity for your
              organization to conduct a risk assessment of a specific care delivery setting, a key risk exposure or your
              own risk management program from a desktop, at your own pace, easily and effectively. Following
              completion of the risk inventory, reports are provided back to you and information on opportunities for
              improvement identified in the assessments is available.




     1
      Coverages may be underwritten by one of the following insurance companies: Atlantic Specialty Insurance Company, Homeland Insurance
     Company of New York, Homeland Insurance Company of Delaware, OBI America Insurance Company and OBI National Insurance Company.

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         • On-site Risk Assessments: the Risk Management team can assist in coordinating an on-site risk
             assessment.
         •   Tools and Guides: OneBeacon Healthcare Group™ has created easy to read, case study-based “pocket”
             risk management guides for use by leadership and clinicians, as well as tools to help assess and address
             risk exposures.
         •   Enewsletters and Publications: monthly OneBeacon Healthcare Group Newsletter and complimentary
             access to The Rozovsky Group’s Dialogues in Healthcare and TRG eNewsletter.


     As a policyholder, you can register to start accessing this material now.
         • To register, go to https://obpi.therozovskygroup.com If you have previously registered please take
             an opportunity to update your information by re-registering so that we can send you our webinar
             invitations and Enewsletter updates. Please know we value your privacy and will never sell or otherwise
             distribute your personal information to any third party.
         •   If you have difficulty registering, please contact Joshua Rozovsky at 860.242.1302 or
             josh@therozovskygroup.com.


     Liability Policy Coverage Questions
     If you have any questions regarding your policy or coverage afforded under your liability policy(s), please contact
     your liability insurance broker, retailer or producer. OneBeacon Healthcare Group Underwriting and Risk
     Management cannot provide direct communication with policyholders regarding specific policy language and /or
     coverage.


     Claims Management Support
     We realize that - despite best efforts - claims sometimes do occur. At OneBeacon Healthcare Group, an
     experienced Claims Examiner is assigned for each reported claim, and will serve as a dedicated resource and
     point of contact.


     Please refer to the OneBeacon Healthcare Group Medical Professional and General Liability Claim
     Reporting Guidelines on Page 4. If you have any questions about what to report or how to report please
     contact Maureen Ringland at MRingland@onebeacon.com.


         • To submit a claim or incident (a “potentially compensable event “/PCE), please use the reporting form
             that can be found on onebeaconhc.com.




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         • Claims can be submitted one of three ways:
             1. Secure E-mail: obiclaims@onebeacon.com. (You will receive an immediate email
             acknowledgment). *Please DO NOT send new claims reports directly to a member of the Claims
             department, use unsecured email to report or discuss claims or include any protected health information
             (PHI) or personally identifiable information (PII). Do not “cc” anyone on a claims report email.
             2. Fax: 877.256.5067
             3. U.S. Mail:
             Claims
             OneBeacon Insurance
             199 Scott Swamp Road
             Farmington, CT 06032



     Thank you again for selecting OneBeacon Healthcare Group™ as your specialists for providing professional
     liability solutions. We look forward to working with you.




     Patricia Hughes, MSN, CPHRM, FASHRM                     Maureen Ringland
     Senior Vice President                                   Vice President
     Healthcare Risk Management                              Healthcare Claims
     860.321.2601                                            303-531-3810
     phughes@onebeacon.com                                   MRingland@onebeacon.com




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     OneBeacon Healthcare Group™ Medical Professional and General Liability
                                           Claim Reporting Guidelines


     Following are some examples of the types of events that should be reported in accordance with the general
     conditions regarding Reporting of Claims, Occurrences and Circumstances under your professional liability policy:


         • Medication errors resulting in injury and/or requiring further treatment (including patient not receiving
             medication; receiving incorrect dosage of medication; or receiving wrong medication)
         •   Falls resulting in injury
         •   Family/patient complaints of inadequate or negligent care resulting in injury
         •   Events reported to a state Department of Health or other state or federal regulatory body
         •   Visitor injuries
         •   Unexpected death
         •   Injury (including, but not limited to: loss of limb or function including spinal cord injury and any
             neurological impairment)
         •   Elopement
         •   Allegations of psychological, physical or sexual abuse, neglect or violence by a patient/resident or their
             authorized representative
         •   Sentinel events and Serious Reportable Events (as defined by the Joint Commission and National Quality
             Forum)
         •   Provider licensure board or similar administrative proceeding arising from a potential medical malpractice
             claim
         •   Oral or written demands for compensation or damages
         •   Lawsuits
         •   Communication from an attorney regarding any of the events noted above
         •   Request from an attorney for medical records
         •   Any other event the policyholder reasonably believes could result in a claim under the policy


     The above list of events is not meant to be exhaustive or exclusive. Nothing contained in or omitted from this
     document should be deemed a waiver of any terms or conditions of any applicable policy. These guidelines are
     provided for general informational purposes only and should not be considered or relied upon as coverage, legal
     or risk-management advice. Readers should consult the specific terms of their policy and their own legal counsel
     for advice.




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         U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                     ASSETS CONTROL ("OFAC")
                ADVISORY NOTICE TO POLICYHOLDERS

     No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
     policy. You should read your policy and review your Declarations page for complete information on the coverages
     you are provided.
     This Notice provides information concerning possible impact on your insurance coverage due to directives issued
     by OFAC. Please read this Notice carefully.
     The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
     declarations of "national emergency". OFAC has identified and listed numerous:
          •    Foreign agents;
          •    Front organizations;
          •    Terrorists;
          •    Terrorist organizations; and
          •    Narcotics traffickers;
     as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
     Treasury's web site – http//www.treas.gov/ofac.
     In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
     claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
     Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
     provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
     a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
     Other limitations on the premiums and payments also apply.




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     ITEM 8.     ALL NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER GENERAL
                 CONDITION (C) OF THE POLICY MUST BE ADDRESSED TO:

                 Claims
                 OneBeacon Insurance
                 199 Scott Swamp Road
                 Farmington, CT 06032
                 obiclaims@onebeacon.com

                 ALL OTHER NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER THIS
                 POLICY MUST BE ADDRESSED TO:

                 OneBeacon Healthcare Group
                 199 Scott Swamp Road
                 Farmington, CT 06032



     ITEM 9.     POLICY FORM AND ENDORSEMENTS ATTACHED AT ISSUANCE:

     HPF-30001-03-13                     Medical Facilities and Providers Professional Liability,
                                           General Liability and Employee Benefit Liability Policy
     HPE-00023-03-13                     Amend Prior Knowledge Exclusion (D)(1)
     HPE-00042-02-13                     Amend Cancellation to Ninety (90) Days
     HPE-00063-04-11                     Additional Named Insured - Related to Original Named Insured
     HPE-00064-07-11                     Notice of Cancellation to Scheduled Party
     HPE-30017A-02-10                    Schedule of Insured Physicians and Locum Tenens
     HPE-30028-03-13                     Deductible/Self-Insured Retention - Indemnity Only
     HPE-30060-03-13                     Peer Review Coverage
     HPE-30065-03-13                     HIPAA Violation Reimbursement Coverage
     HPE-30103-01-13                     Delete General Liability and Employee Benefit Liability
                                           Coverages with Product Exclusion
     HPE-00038-08-09                     Fronted Deductible
     HPE-00098-05-17                     Physical Abuse / Sexual Misconduct
     HPE-3SONIC-0816                     Rate Stabilization
     HPE-3SONIC2-0616                    Amend General Condition (E) Worldwide Territory

     These Declarations, the completed signed Application, and the Policy (together with any and all endorsements
     thereto) shall constitute the entire agreement between the Underwriter and the Insured(s).

     Homeland Insurance Company of New York
     By:


                                                                        06.26.2017
     Its Authorized Representative                                      Date:




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     MEDICAL FACILITIES AND PROVIDERS
     PROFESSIONAL LIABILITY, GENERAL
     LIABILITY AND EMPLOYEE BENEFIT
     LIABILITY POLICY


      PORTIONS OF THIS POLICY PROVIDE CLAIMS MADE AND REPORTED COVERAGE, WHICH APPLIES
         ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR AN
     APPLICABLE EXTENDED REPORTING PERIOD AND REPORTED IN ACCORDANCE WITH THIS POLICY’S
                   REPORTING PROVISIONS. PLEASE READ THIS POLICY CAREFULLY.


     In consideration of the payment of the premium, and in reliance on all statements ma de and information
     furnished to the Underwriter, and subject to all of the terms and conditions of this Policy (including all
     endorsements hereto), the Underwriter and the Insured agree as follows:

     I.      INSURING AGREEMENTS

     (A)     Claims Made Professional Liability Insurance:

             The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.A. of the Declarations on
             behalf of the Insured any Loss that the Insured is legally obligated to pay as a result of any covered
             Claim for a Professional Services Wrongful Act happening on or after the Retroactive Date;
             provided, that the Claim is first made against the Insured during the Policy Period or applicable
             Extended Reporting Period and reported to the Underwriter in accordance with GENERAL CONDITION (C)
             of this Policy.

     (B)     Occurrence-Based General Liability Insurance:

             The Underwriter will pay up to the applicable Limit of Liability shown in ITEM 4.B. of the Declarations on
             behalf of the Insured any Loss which the Insured is legally obligated to pay as a result of a covered
             Claim alleging Bodily Injury, Property Damage, Advertising Injury or Personal Injury that is
             caused by an Occurrence that takes place during the Policy Period; provided, that the Claim is
             reported to the Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

     (C)     Claims Made Employee Benefit Liability Insurance:

             The Underwriter will pay up to the Limit of Liability shown in ITEM 4.C. of the Declarations on behalf of
             the Insured any Loss that the Insured is legally obligated to pay as a result of any covered Claim for
             an Employee Benefit Wrongful Act happening on or after the Retroactive Date; provided, that the
             Claim is first made against the Insured during the Policy Period or applicable Extended Reporting
             Period and reported to the Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

     (D)     Evacuation Expense Reimbursement Insurance:

             Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the Named
             Insured up to the amount set forth in ITEM 4.D. of the Declarations for Evacuation Expenses actually
             paid by the Named Insured in connection with an Evacuation that occurs during the Policy Period;
             provided, that such Evacuation Expenses are incurred by the Named Insured no later than sixty (60)
             days after the Expiration Date or earlier cancellation date of this Policy and reported to the Underwriter in
             accordance with GENERAL CONDITION (C) of this Policy.

     (E)     Legal/Media Expense Reimbursement Insurance:

             Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the Named
             Insured up to the amount set forth in ITEM 4.E. of the Declarations for Legal/Media Expenses

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     (B)    “Advertisement” means a notice that is broadcast or published to the general public or specific market
            segments about the Insured’s goods, products or services, for the purpose of attracting customers or
            supporters. For purposes of this Definition:

            (1)     notice that is broadcast or published includes material placed on the Internet or similar means of
                    electronic communication; and

            (2)     with regard to websites, only that part of a website that is about the Insured’s goods, products
                    or services, for the purpose of attracting customers or supporters, will be considered an
                    Advertisement.

     (C)    “Advertising Injury” means injury arising out of one or more of the following offenses:

            (1)     the Insured’s use of another’s advertising idea in an Advertisement;

            (2)     the Insured’s use of another’s copyright, trade dress or slogan in an Advertisement; or

            (3)     the Insured’s infringement upon another’s copyright, trade dress or slogan in an
                    Advertisement.

     (D)   “Auto” means:

            (1)     a land motor vehicle, trailer or semitrailer designed for travel on public roads, including any
                    attached machinery or equipment; or

            (2)     any other land vehicle that is subject to a compulsory or financial responsibility law or other
                    motor vehicle insurance law in the state where it is licensed or principally garaged.

            Auto does not include Mobile Equipment.

     (E)    “Bodily Injury” means bodily injury, sickness or disease sustained by a person, including death resulting
            from any of these at any time; mental anguish; and mental injury.

     (F)    “Claim” means any written notice received by an Insured that any person or entity intends to hold an
            Insured responsible for a Wrongful Act or an Occurrence.

     (G)    “Covered Contract” means any lease of premises; sidetrack agreement; elevator maintenance
            agreement; easement or license agreement; or contract or agreement specifically added as a Covered
            Contract by written endorsement to this Policy, under which the Named Insured assumes the tort
            liability of another to pay damages for Bodily Injury or Property Damage covered by this Policy that
            is sustained by others.

     (H)    “Defense Expenses” means the reasonable fees of attorneys, experts and consultants and costs and
            expenses incurred in the investigation, adjustment, defense or appeal of a Claim with

            the approval or at the direction of the Underwriter; provided, that Defense Expenses shall not include:

            (1)     remuneration, salaries, overhead, fees, loss of earning reimbursement or benefit expenses of an
                    Insured;

            (2)     any amounts incurred in defense of a Claim for which any other insurer has a duty to defend,
                    regardless of whether such other insurer undertakes such duty; or

            (3)     any benefits under an Employee Benefit Program.



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     (I)   “Employee” means any person who has an assigned work schedule for and is on the regular payroll of
           the Named Insured, with federal and state taxes withheld. Independent contractors are not
           Employees. An Employee’s status as an Insured shall be determined as of the date of the
           Occurrence or Wrongful Act upon which a Claim involving the Employee is based.

     (J)   “Employee Benefit Programs” means any group life insurance, group accident and health insurance,
           profit sharing plans, pension plans, Employee stock subscription plans, workers’ compensation,
           unemployment insurance, social security and disability benefits insurance or any other similar plan under
           the Administration of the Named Insured for the benefit of its Employees.

     (K)   “Employee Benefit Wrongful Act” means any actual or alleged act, error or omission, or series of
           acts, errors or omissions, by an Insured in the Administration of an Employee Benefit Program.

     (L)   “Employment Practices” means any of the following: breach of any employment contract; failure or
           refusal to hire or employ; dismissal, discharge, reduction in force, downsizing or termination of
           employment, whether actual or constructive; demotion, reassignment, failure or refusal to promote, or
           deprivation of career opportunity; discipline of Employees; evaluation of Employees; discrimination or
           harassment of any kind or on any basis including, but not limited to, discrimination, limitation,
           segregation or classification based on race, sex, marital status, ancestry, physical or mental handicaps,
           age, sexual preference, pregnancy or religion or other status that is protected under any applicable
           federal, state or local statute or ordinance affecting any present or former Employee or applicant for
           employment; humiliation or defamation of any present or former Employee or applicant for
           employment; retaliatory treatment against an Employee arising out of the Employee’s attempted or
           actual exercise of the Employee’s rights under the law; employment-related misrepresentations; or
           failure to implement appropriate workplace or employment policies or procedures.

     (M)   “Evacuation” means the removal from one or more of the Named Insured’s facilities to any other
           location of fifteen (15) or more patients or residents in such facility(ies) as a result of any natural or man-
           made occurrence that, in the reasonable judgment of the Named Insured’s management, causes or
           could potentially cause such facility(ies) to be unsafe for such patients or residents.

     (N)   “Evacuation Expenses” means reasonable costs incurred by the Named Insured in connection with
           an Evacuation, including costs associated with transporting, lodging and providing meals to patients or
           residents who have been evacuated. Evacuation Expenses shall not include any remuneration,
           salaries, overhead or benefit expenses of the Named Insured.

     (O)   “First Named Insured” means the entity designated as such in ITEM 1 of the Declarations.

     (P)   “Good Samaritan Acts” means emergency medical treatment provided by an Insured, without
           remuneration, at the scene of an accident, medical crisis or disaster.

     (Q)   “Hostile Fire” means a fire which becomes uncontrollable or breaks out from where it was intended to
           be contained; provided, that Hostile Fire does not include any fire that originates at any site operating
           as a waste disposal facility or waste storage facility.

     (R)   “Impaired Property” means tangible property, other than Insured Product or Insured Work, that
           cannot be used or is not useful because:

           (1)     it incorporates Insured Product or Insured Work that is known or thought to be defective,
                   deficient, inadequate or dangerous; or

           (2)     the Named Insured has failed to fulfill the terms of any contract or agreement.

     (S)   “Insured” means any of the following:

           (1)     the Named Insured;

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           (2)     any Employee or Volunteer, but only when such Employee or Volunteer is acting within the
                   capacity and scope of his or her duties as such;

           (3)     the Named Insured’s medical directors, department heads, or chiefs of staff, but only while
                   acting within the scope and capacity of their duties as such for the Named Insured;

           (4)     any member of a duly authorized board or committee of the Named Insured;

           (5)     solely with respect to and limited to coverage afforded under INSURING AGREEMENT (A), the
                   lawful spouses of individual Insureds and, in the event of the death, incapacity, or bankruptcy
                   of an individual Insured, the estates, heirs, legal representatives or assigns of such individual
                   Insured;

           (6)     any person enrolled as a student in a formal training program offered by the Named Insured,
                   but only when such person is acting within the capacity and scope of his or her duties as such;

           (7)     any person hired or retained by the Named Insured to provide language interpretation services
                   in connection with the provision of Medical Services;

           (8)     any member or partner of a joint venture or partnership specifically listed as a Named Insured
                   in Schedule A to this Policy, but only with respect to such member or partner’s liability arising out
                   of such joint venture or partnership;

           (9)     any member of a Named Insured that is a limited liability company, but only when named in a
                   Claim by reason of such member’s ownership interest in such Named Insured and only to the
                   extent of such ownership interest; and

           (10)    any driver or operator of Mobile Equipment, but only when operating Mobile Equipment at
                   the direction and with the permission of the Named Insured;

           provided, that Insured shall not include any person who is an intern, resident, physician, surgeon,
           dentist, psychiatrist, nurse anesthetist, nurse midwife, podiatrist or chiropractor while rendering Medical
           Services, whether such person is an Employee, Volunteer or student.

     (T)   “Insured Product” means:

           (1)     any goods or products, other than real property, manufactured, sold, handled, distributed or
                   disposed of by:

                   (a)     the Named Insured;

                   (b)     others trading under the name of the Named Insured; or

                   (c)     a person or an organization whose business or assets the Named Insured has
                           acquired; and

           (2)     containers (other than vehicles), materials, parts or equipment furnished in connection with such
                   goods or products. Insured Product includes:

                   (a)     warranties or representations made at any time with respect to the fitness, quality,
                           durability, performance or use of the Insured Product; and

                   (b)     the providing of or failure to provide warnings or instructions.

           Insured Product does not include vending machines or other property rented to, or located for the use

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           of, others but not sold.

     (U)   “Insured Work” means:

           (1)     work or operations performed by the Named Insured or on the Named Insured’s behalf; and

           (2)     materials, parts or equipment furnished in connection with such work or operations. Insured
                   Work includes:

                   (a)      warranties or representations made at any time with respect to the fitness, quality,
                            durability, performance or use of the Insured Work; and

                   (b)      the providing of or failure to provide warnings or instructions.

     (V)   “Legal Defense Proceeding” means: (1) a hearing or disciplinary action against an Insured before a
           state or other licensing board or governmental regulatory body; (2) a civil or criminal proceeding in which
           the Insured is not a defendant but has been ordered to offer deposition testimony regarding treatment
           rendered to a Patient; or (3) a civil or criminal proceeding in which the Insured is not a party but has
           received a subpoena for record production regarding treatment rendered to a Patient.

     (W)   “Legal/Media Expenses” means reasonable fees and costs of attorneys, experts and consultants
           incurred by the Insured in the investigation and defense of a Legal Defense Proceeding.
           Legal/Media Expenses also include reasonable costs incurred by the Insured in the management of
           public relations with respect to a Legal Defense Proceeding, including reasonable fees and costs of
           third-party media consultants. Legal/Media Expenses shall not include any remuneration, salaries,
           overhead, fees, loss of earning reimbursement or benefit expenses of an Insured.

     (X)   “Loss” means:

           (1)     for the purposes of INSURING AGREEMENTS (A), (B) and (C), any damages, settlements,
                   judgments or other amounts (including punitive or exemplary damages if insurable under the
                   applicable law most favorable to the insurability thereof) in excess of the applicable deductible or
                   self-insured retention, if any, stated in ITEM 4 of the Declarations which an Insured is legally
                   obligated to pay as a result of a Claim;

           (2)     for the purposes of INSURING AGREEMENT (D), Evacuation Expenses;

           (3)     for the purposes of INSURING AGREEMENT (E), Legal/Media Expenses.

           Loss shall not include:

           (a)     Defense Expenses;

           (b)     the multiple portion of any multiplied damage award;

           (c)     fines, penalties, sanctions, fees, government payments or taxes;

           (d)     amounts owed to any provider of Medical Services under any contract;

           (e)     restitution, return or disgorgement of fees, profits, charges for products or services rendered,
                   capitation payments, premium or any other funds allegedly wrongfully held or obtained ;

           (f)     benefits under an Employee Benefit Program;

           (g)     relief or redress in any form other than monetary compensation or monetary damages, including
                   without limitation the cost of complying with any injunctive, declaratory or administrative relief;

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            (h)     the payment, satisfaction or writing off of any medical bills or charges by an Insured; or

            (i)     matters which are uninsurable under applicable law.

     (Y)    “Managed Care Services” means services or activities performed in the administration or management
            of health care plans; advertising, marketing or selling health care plans or health care products; handling,
            investigating or adjusting claims for benefits or coverages under health care plans; or establishing health
            care provider networks.

     (Z)    “Medical Services” means health care, medical care, or treatment provided to any individual, including
            without limitation any of the following: medical, surgical, dental, psychiatric, mental health, chiropractic,
            osteopathic, nursing, or other professional health care; the furnishing or dispensing of medications,
            drugs, blood, blood products, or medical, surgical, dental, or psychiatric supplies, equipment, or
            appliances in connection with such care; the furnishing of food or beverages in connection wi th such
            care; the providing of counseling or other social services in connection with such care; and the handling
            of, or the performance of post-mortem examinations on, human bodies.

     (AA)   “Mobile Equipment” means any of the following types of land vehicles, including any attached
            machinery or equipment:

            (1)     bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public
                    roads;

            (2)     vehicles maintained for use solely on or next to premises owned or rented by an Insured;

            (3)     vehicles that travel on crawler treads;

            (4)     vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently
                    mounted:

                    (a)      power cranes, shovels, loaders, diggers or drills, or

                    (b)      road construction or resurfacing equipment such as graders, scrapers or rollers;

            (5)     vehicles not described in clauses (1)-(4) above that are not self-propelled and are maintained
                    primarily to provide mobility to permanently attached equipment of the following types:

                    (a)    air compressors, pumps and generators, including spraying, welding, building cleaning,
                           geophysical exploration, lighting and well servicing equipment; or

                    (b)    cherry pickers and similar devices used to raise or lower workers; and

            (6)     vehicles not described in clauses (1)-(4) above maintained primarily for purposes other than the
                    transportation of persons or cargos.

            Mobile Equipment does not include:

            (i)     self-propelled vehicles with the following types of permanently attached equipment:

                    (aa)     equipment designed primarily for:

                           (AA)     snow removal;

                           (BB)     road maintenance but not construction or resurfacing; or



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                           (CC)     street cleaning;

                    (bb)    cherry pickers and similar devices mounted on automobile or truck chassis and used to
                            raise or lower workers; and

                    (cc)    air compressors, pumps and generators, including spraying, welding, building cleaning,
                            geophysical exploration, lighting and well servicing equipment; or

            (ii)    any land vehicles that are subject to a compulsory or financial responsibility law or other motor
                    vehicle insurance law in the state where it is licensed or principally garaged.

     (BB)   “Mold” means mold, mildew, spores, mycotoxins, fungi, organic pathogens or other micro organisms of
            any type, nature or description whatsoever.

     (CC)   “Named Insured” means the First Named Insured and each other entity listed as a Named Insured
            in Schedule A to this Policy.

     (DD)   “Occurrence” means:

            (1)     with respect to Bodily Injury or Property Damage, an accident, including continuous or
                    repeated exposure to substantially the same harmful conditions, which results in injury or
                    damage neither expected nor intended by the Insured; and

            (2)     with respect to Advertising Injury or Personal Injury, a covered offense as set forth in
                    DEFINITIONS (C) or DEFINITIONS (FF) of this Policy.

     (EE)   “Patient” means any person or human body admitted or registered to receive Medical Services from
            an Insured, whether on an inpatient, outpatient or emergency basis.

     (FF)   “Personal Injury” means injury, other than Bodily Injury, arising out of one or more of the following
            offenses:

            (1)     false arrest, detention or imprisonment;

            (2)     malicious prosecution;

            (3)     the wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a
                    room, dwelling or premises that a person occupies by or on behalf of its owner, landlord or
                    lessor;

            (4)     oral or written publication of material that slanders or libels a person or an organization or
                    disparages a person’s or an organization’s goods, products or services; or

            (5)     oral or written publication of material that violates a person’s right of privacy.

     (GG)   “Personally Identifiable Health Information” means a natural person’s name used in combination
            with his/her confidential health care or other medical information, including “protected health
            information” as defined in the Health Insurance Portability and Accountability Act of 1996, as amended,
            and any rules or regulations promulgated thereunder. Personally Identifiable Health Information
            does not include information that is lawfully available to the general public, including but not limited to
            information from any federal, state or local governmental or regulatory agency or entity.

     (HH)   “Policy Period” means the period from the Inception Date of this Policy stated in ITEM 2(a) of the
            Declarations to the Expiration Date of this Policy stated in ITEM 2(b) of the Declarations or to any earlier
            cancellation date of this Policy.



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     (II)   “Pollutant” means smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, medical
            waste, waste materials (including materials which are intended to be or have been recycled,
            reconditioned or reclaimed) or other irritants, pollutants or contaminants. Pollutant does not include
            smoke, fumes, vapor or soot emanating from equipment used to heat or cool a building owned or
            operated by the Named Insured.

     (JJ)   “Products and Completed Operations Hazard” means Bodily Injury and Property Damage
            occurring away from premises owned or rented by the Insured and arising out of Insured Product or
            Insured Work, except:

            (1)     products that are still in the Insured’s physical possession; and

            (2)     work that has not yet been completed or abandoned; provided that work will be deemed
                    completed at the earliest of the following times:

                    (a)     when that part of the work done at a job site has been put to its intended use by any
                            person or organization other than another contractor or subcontractor working on the
                            same project;

                    (b)     when all of the work called for in the Insured’s contract has been completed; or

                    (c)     when all of the work to be done at the job site has been completed if the Insured’s
                            contract calls for work at more than one job site.

                    Work that may need service, maintenance, correction, repair or replacement, but which is
                    otherwise complete, will be treated as completed work.

            Products and Completed Operations Hazard does not include Bodily Injury or Property Damage
            arising out of:

            (i)     the transportation of property, unless the injury or damage arises out of a condition in or on a
                    vehicle not owned or operated by the Insured, and that condition was created by the loading or
                    unloading of that vehicle by an Insured; or

            (ii)    the existence of tools, uninstalled equipment, or abandoned or unused materials.

     (KK)   “Professional Services” means:

            (1)     Medical Services in connection with the Covered Operations/Services set forth in ITEM 5 of the
                    Declarations;

            (2)     Good Samaritan Acts;

            (3)     the activities of an Insured as a member of a board or committee of the Named Insured, or
                    as a member of any committee of the medical or professional staff of the Named Insured,
                    when engaged in Utilization Review;

            (4)     the activities of an Insured as a member of a formal accreditation, standards review or similar
                    professional board or committee, including executing the directives of such board or committee;
                    or

            (5)     reviewing the quality of Medical Services or providing quality assurance on behalf of the
                    Named Insured.

     (LL)   “Professional Services Wrongful Act” means:



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            (1)     any actual or alleged act, error or omission, or series of acts, errors or omissions, by an Insured
                    in rendering, or failing to render, Professional Services;

            (2)     any actual or alleged act, error or omission, or series of acts, errors or omissions, by any person
                    other than an Insured in rendering, or failing to render, Medical Services, but only for an
                    Insured’s vicarious liability with regard to such Medical Services. In no event shall this Policy
                    provide coverage for the direct liability of any person other than an Insured for the rendering of,
                    or failure to render, Medical Services; or

            (3)     any inadvertent:

                    (a)     publication of Personally Identifiable Health Information; or

                    (b)     utterance of confidential health care or other medical information,

                    of a Patient by an Insured while providing Medical Services to such Patient.

     (MM)   “Property Damage” means:

            (1)     physical injury to tangible property, including all resulting loss of use of that property; provided,
                    that such loss of use shall be deemed to have occurred at the time of the physical injury that
                    caused it; or

            (2)     loss of use of tangible property that is not physically injured; provided, that such loss of use shall
                    be deemed to occur at the time of the Occurrence that caused it. Property Damage shall not
                    include loss of use of tangible property that results from any actual or alleged theft.

     (NN)   “Related Claims” means all Claims based upon, arising out of, directly or indirectly resulting from, in
            consequence of, in any way involving, or in any way having a common nexus of the same or related
            facts, circumstances, situations, transactions, or events, or the same or related series of facts,
            circumstances, situations, transactions or events.

     (OO)   “Retroactive Date” means the applicable date(s) set forth in ITEM 3 of the Declarations.

     (PP)   “Utilization Review” means the process of evaluating the appropriateness or necessity of Medical
            Services provided or to be provided by an Insured. Utilization Review shall include prospective
            review of proposed Medical Services, concurrent review of ongoing Medical Services, and
            retrospective review of already rendered Medical Services. Utilization Review does not include
            services or activities performed in the administration or management of health care plans.

     (QQ)   “Volunteer” means a person who provides his or her services or labor to the Named Insured, and
            whose activities are supervised and directed by the Named Insured, but who is not compensated for
            such services and labor. No Employee or physician shall be considered a Volunteer.

     (RR)   “Wrongful Act” means any Professional Services Wrongful Act or Employee Benefit Wrongful
            Act.


     III.   EXCLUSIONS

     (A)    Exclusions Applicable to INSURING AGREEMENT (A):

            In addition to the EXCLUSIONS listed under (D) below, no coverage will be available under INSURING
            AGREEMENT (A), and the Underwriter will not pay any Loss or Defense Expenses, for any Claim
            based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
            any actual or alleged:

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           (1)     Professional Services Wrongful Act that happened before the Retroactive Date;

           (2)     Bodily Injury or Property Damage, except to the extent such Claim arises out of a
                   Professional Services Wrongful Act;

           (3)     Advertising Injury or Personal Injury, except to the extent that such injury relates to the
                   rendering of, or failure to render, Professional Services;

           (4)     Employee Benefit Wrongful Act;

           (5)     rendering of, or failure to render, Medical Services by any Insured or any person for whom an
                   Insured is vicariously liable:

                   (a)      while the Insured’s or such person’s license to practice is or was not active;

                   (b)     in violation of any restriction imposed or placed upon the Insured’s or such person’s
                           license; or

                   (c)     if such Medical Services fall outside the scope of the Insured’s or such person’s
                           license;

           (6)     rendering of, or failure to render, Medical Services by any person other than an Insured;
                   except this EXCLUSION (A)(6) will not apply to an Insured’s vicarious liability with regard to
                   such Medical Services; or

           (7)     treatment of any Patient with any drug, medical device, or biologic or radiation-emitting product
                   not approved by the U.S. Food and Drug Administration.

     (B)   Exclusions Applicable to INSURING AGREEMENT (B):

           In addition to the EXCLUSIONS listed under (D) below, no coverage will be available under INSURING
           AGREEMENT (B), and the Underwriter will not pay any Loss or Defense Expenses, for any Claim
           based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving
           any actual or alleged:

           (1)     Occurrence that happened before the Inception Date set forth in ITEM 2 of the Declarations;

           (2)     Professional Services Wrongful Act;

           (3)     injury to a Patient; except this EXCLUSION (B)(3) shall not apply to any Claim based upon,
                   arising out of, directly or indirectly resulting from, in consequence of, or in any way involving : fire
                   or lightning; windstorm or hail; explosion; riot, including riot attending a strike or civil
                   commotion; smoke; vandalism or malicious mischief; sprinkler leakage; elevator malfunction;
                   earthquake or flood; or structural collapse of a building;

           (4)     Bodily Injury, Property Damage, Personal Injury or Advertising Injury expected or
                   intended from the standpoint of any Insured; except for Bodily Injury resulting from use of
                   reasonable force to protect persons or property;

           (5)     Personal Injury or Advertising Injury arising out of oral or written publication of material:

                   (a)     if done by or at the direction of an Insured with knowledge of its falsity; or

                   (b)     whose first publication took place before the Inception Date set forth in ITEM 2 of the
                           Declarations;

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           (6)    Advertising Injury arising out of any false, incorrect or misleading description of the price of
                  goods, products or services;

           (7)    Employee Benefit Wrongful Act;

           (8)    Bodily Injury or Property Damage for which an Insured is or may be held liable by reason
                  of:

                  (a)     causing or contributing to the intoxication of any person;

                  (b)     the furnishing of alcoholic beverages to a person under the legal drinking age or under
                          the influence of alcohol; or

                  (c)     any statute, ordinance or regulation relating to the sale, gift, distribution or use of
                          alcoholic beverages;

                  except this EXCLUSION (B)(8) will not apply if the Insured is not in the business of
                  manufacturing, selling or distributing alcoholic beverages;

           (9)    Bodily Injury or Property Damage arising out of:

                  (a)     the transportation of Mobile Equipment by, in or on an Auto owned or operated by, or
                          rented or loaned to, any Insured; or

                  (b)     the use of Mobile Equipment in, or while in practice or preparation for, any
                          prearranged racing, speed, demolition or stunt activity;

           (10)   Bodily Injury or Property Damage arising from any consequence, direct or indirect, of war,
                  invasion, hostilities (whether war be declared or not), civil war, rebellion, revolution, insurrection,
                  military or usurped power, strike, riot or civil insurrection;

           (11)   Property Damage to:

                  (a)     property the Insured owns, rents or occupies;

                  (b)     premises sold, given away or abandoned by the Named Insured, if the Property
                          Damage arises out of any part of those premises;

                  (c)     property loaned to the Insured;

                  (d)     personal property in the care, custody or control of the Insured;

                  (e)     that particular part of real property on which the Insured, or any contractor or
                          subcontractor working directly or indirectly on the Insured’s behalf, is performing
                          operations, if the Property Damage arises out of those operations;

                  (f)     that particular part of any property that must be restored, repaired or replaced because
                          the Insured’s Work was incorrectly, poorly or improperly performed on it; or

                  (g)     property which is being transported by the Insured by automobile, Mobile Equipment
                          or team, including the loading and unloading thereof;

                  EXCLUSION (B)(11)(a) above does not apply to any Claim for Property Damage resulting from
                  any fire caused by the Insured’s negligence and occurring on premises rented by the Insured
                  or temporarily occupied by the Insured with the permission of the owner of such premises, up

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                  to the “Damage to Rented Premises” Limit of Liability set forth in ITEM 4.B. of the Declarations;

                  EXCLUSIONS (B)(11)(a), (c) and (d) above do not apply to any Claim for Property Damage
                  (other than damage caused by fire) to premises, including the contents of such premises, rented
                  to the Insured for a period of seven (7) or fewer consecutive days, up to the “Damage to
                  Rented Premises” Limit of Liability set forth in ITEM 4.B. of the Declarations.

                  EXCLUSION (B)(11)(b) above does not apply if the premises are Insured Work and were never
                  occupied, rented or held for rental by the Named Insured;

                  EXCLUSIONS (B)(11)(c), (d), (e), and (f) above do not apply to liability assumed under a
                  sidetrack agreement; and

                  EXCLUSION (B)(11)(f) above does not apply to Property Damage included in the Products
                  and Completed Operations Hazard;

           (12)   Property Damage to the Insured Product arising out of it or any part of it;

           (13)   Property Damage to Insured Work arising out of it or any part of it and included in the
                  Products and Completed Operations Hazard; except if the damaged work or the work out
                  of which the damage arises was performed on behalf of the Named Insured by a
                  subcontractor;

           (14)   Property Damage to Impaired Property or property that has not been physically injured,
                  arising out of:

                  (a)     defect, deficiency, inadequacy or dangerous condition in Insured Product or Insured
                          Work; or

                  (b)     a delay or failure by an Insured or anyone acting on the Named Insured’s behalf to
                          perform a contract or an agreement in accordance with its terms; except this EXCLUSION
                          (B)(14)(b) does not apply to the loss of use of other property arising out of sudden and
                          accidental physical injury to Insured Product or Insured Work after it has been put
                          to its intended use;

           (15)   damages claimed for any loss, cost or expense incurred by the Named Insured or others for
                  the loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or
                  disposal of:

                  (a)     Insured Product;

                  (b)     Insured Work; or

                  (c)     Impaired Property, if such product, work or property is withdrawn or recalled from the
                          market or from use by any person or organization because of a known or suspected
                          defect, deficiency, inadequacy or dangerous condition in it;

           (16)   injury or damage arising in whole or in part, either directly or indirectly, out of asbestos,
                  regardless whether the asbestos is:

                  (a)     airborne as a fiber or particle;

                  (b)     contained in a product;

                  (c)     carried or transmitted on clothing or by any other means; or



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                   (d)     contained in or a part of:

                           (i)     any building;

                           (ii)    any building material;

                           (iii)   any insulation product; or

                           (iv)    any component part of any building, building material or insulation product;

           (17)    (a)     exposure to, or the manifestation, release, dispersal, seepage, migration, discharge,
                           appearance, presence, reproduction or growth of, Mold;

                   (b)     fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate, remove,
                           contain, treat, detoxify, neutralize, rehabilitate, or in any other way respond to or assess
                           the effect(s) of Mold; or

                   (c)     fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by order,
                           direction, request or agreement of any court, governmental agency, regulatory body or
                           civil, public or military authority in connection with or in any way relating to Mold;

           (18)    (a)      exposure to, or generation, storage, manifestation, transportation, discharge, emission,
                            release, dispersal, seepage, migration, escape, appearance, presence, reproduction,
                            growth of, treatment, removal or disposal of, any Pollutant, including any threat
                            thereof, except where such exposure, generation, storage, manifestation,
                            transportation, discharge, emission, release, dispersal, seepage, migration, escape,
                            appearance, presence, reproduction, growth, treatment, removal or disposal was caused
                            by an unintentional fire or any heat, smoke or fumes issuing from such unintentional
                            fire;

                   (b)      fee, cost, expense or charge to test, monitor, clean up, remediate, mitigate, remove,
                            contain, treat, detoxify, neutralize or rehabilitate any Pollutant; or

                   (c)      fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by order,
                            direction, request or agreement of any court, governmental agency, regulatory body or
                            civil, public or military authority in connection with or in any way relating to any
                            Pollutant;

                   except this EXCLUSION (B)(18) will not apply to any Claim for Bodily Injury or Property
                   Damage caused by heat, smoke or fumes from a Hostile Fire;

           (19)    nuclear reaction, nuclear radiation, radioactive contamination, or radioactive substance ; or

           (20)    violation of the Telephone Consumer Protection Act, the CAN-SPAM Act of 2003, the Fair Credit
                   Reporting Act, the Fair and Accurate Credit Transaction Act, all as may be amended, or any other
                   federal, state or local statutory or common law that addresses, prohibits, or limits the printing,
                   dissemination, disposal, collecting, recording, sending, transmitting, communicating or
                   distribution of material or information, or any rules or regulations promulgated thereunder.

     (C)   Exclusions Applicable to INSURING AGREEMENT (C):

           In addition to the Exclusions listed in EXCLUSION (D) below, no coverage will be available under
           INSURING AGREEMENT (C), and the Underwriter will not pay any Loss or Defense Expenses, for any
           Claim based upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
           involving any actual or alleged:



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           (1)     Employee Benefit Wrongful Act that happened before the Retroactive Date;

           (2)     Advertising Injury, Bodily Injury, Personal Injury or Property Damage;

           (3)     failure of performance by any insurer;

           (4)     failure of securities or other investments to perform as represented or advice given to an
                   Employee to participate or not to participate in stock subscription or other benefit programs;
                   provided, that for purposes of this EXCLUSION (C)(4), “security” means a security of any nature
                   whatsoever including, without limitation, stocks, shares, bonds, debentures, options, derivatives,
                   partnership interests, limited liability company interests, any other form of debt or equity
                   instrument and any other forms of ownership interest;

           (5)     insufficiency of funds to meet any obligations of Employee Benefit Programs; or

           (6)     Professional Services Wrongful Act.

     (D)   Exclusions Applicable to All INSURING AGREEMENTS:

           Except as otherwise expressly provided in this Policy, this Policy does not apply to, and the Underwriter
           will not pay Loss or Defense Expenses, for any Claim based upon, arising out of, directly or indirectly
           resulting from, in consequence of, or in any way involving any actual or alleged:

           (1)     act, error, omission or Wrongful Act if any Insured, on or before the Inception Date set forth
                   in ITEM 2 of the Declarations, knew or reasonably could have foreseen that such act, error,
                   omission or Wrongful Act might result in a Claim.

                   If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
                   to the First Named Insured, and the coverage provided by the Underwriter to the First Named
                   Insured was in effect, without interruption, for the entire time between the inception date of the
                   first such other policy and the Inception Date of this Policy, the reference in this EXCLUSION
                   (D)(1) to the Inception Date will be deemed to refer instead to the inception date of the first
                   policy under which the Underwriter began to provide the First Named Insured with the
                   continuous and uninterrupted coverage of which this Policy is a renewal;

           (2)     act, error, omission, Wrongful Act, event, suit or demand which was the subject of any notice
                   given under:

                   (a)     any medical professional liability or similar policy of insurance or plan or program of self-
                           insurance, with respect to any Claim otherwise covered under INSURING AGREEMENT
                           (A);

                   (b)     any general liability or similar policy of insurance or plan or program of self-insurance,
                           with respect to any Claim otherwise covered under INSURING AGREEMENT (B); or

                   (c)     any employee benefit liability or similar policy of insurance or plan or program of self-
                           insurance, with respect to any Claim otherwise covered under INSURING AGREEMENT
                           (C);

                   in effect prior to the Inception Date set forth in ITEM 2 of the Declarations;

           (3)     violation of any federal, state or local antitrust, restraint of trade, unfair competition, or price -
                   fixing law, or any rules or regulations promulgated thereunder, or any involvement in any
                   agreement or conspiracy to restrain trade, except for any Claim otherwise covered under
                   INSURING AGREEMENT (A) arising out of the rendering of, or failure to render, Medical
                   Services;

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           (4)    dishonest, fraudulent, criminal or intentionally malicious act, error or omission by an Insured;
                  any willful violation of law, statute, rule or regulation by an Insured; or the gaining of any profit,
                  remuneration or advantage by an Insured to which such Insured was not legally entitled,
                  including, but not limited to, health care fraud; provided, however, that no such act of one
                  Insured will be imputed to any other Insured who was not aware of and did not participate in
                  such act;

           (5)    Bodily Injury or Property Damage arising out of the ownership, maintenance, use, operation
                  or entrustment to others of any aircraft, Auto or watercraft or the loading or unloading thereof;
                  except this EXCLUSION (D)(5) will not apply to any Claim for a Professional Services
                  Wrongful Act in connection with the loading or unloading of any Patient from any aircraft or
                  Auto;

           (6)    obligation of an Insured pursuant to any workers’ compensation, unemployment compensation,
                  disability benefits or similar law;

           (7)    obligation which an Insured has assumed under a written or oral contract or agreement; except
                  this EXCLUSION (D)(7) will not apply to:

                  (a)     liability an Insured would have had in the absence of such contract or agreement; or

                  (b)     liability assumed by the Named Insured under a Covered Contract;

           (8)    Claim made by or for the benefit of, or in the name or right of, one current or former Insured
                  against another current or former Insured; except this EXCLUSION (D)(8) will not apply to any
                  Claim for:

                  (a)     the rendering of, or failure to render, Medical Services otherwise covered under
                          INSURING AGREEMENT (A) of this Policy; or

                  (b)     any Employee Benefit Wrongful Act otherwise covered under INSURING AGREEMENT
                          (C) of this Policy;

           (9)    discrimination of any kind on any basis, including, but not limited to, discrimination, limitation,
                  segregation or classification based on race, sex, marital status, ancestry, physical or mental
                  handicaps, age, sexual preference, pregnancy, religion or other status that is protected under
                  any applicable federal, state or local statute or ordinance, including any discrimination in the
                  rendering of, or failure to render, Professional Services;

           (10)   Employment Practices;

           (11)   liability of any “Acquired Entity” described in GENERAL CONDITION (F) or its individual Insureds
                  acting in their capacity as such for any Claim, Occurrence, fact, circumstance, situation,
                  transaction, event or Wrongful Act or series of Claims, Occurrences, facts, circumstances,
                  situations, transactions, events or Wrongful Acts happening before the date such entity became
                  an “Acquired Entity;”

           (12)   (a)     unauthorized, unlawful, or unintentional taking, obtaining, accessing, using, disclosing,
                          distributing, disseminating, transmitting, gathering, collecting, acquiring, corrupting,
                          damaging, destroying, deleting, or impairing of any information or data of any kind,
                          including but not limited to any health care or other medical information or Personally
                          Identifiable Health Information; provided, that this EXCLUSION (D)(12)(a) shall not
                          apply to any Claim for a Professional Services Wrongful Act as defined in
                          DEFINTION (LL)(3);



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                  (b)     failure or inability of any computer, computer component (including but not limited to
                          any hardware, network, terminal device, data storage device, input and output device, or
                          back up facility), application, program, software, code, or script of any kind (a “System”)
                          to perform or function as planned or intended, including but not limited to any failure or
                          inability of any System to prevent any hack, virus, contaminant, worm, trojan horse, logic
                          bomb, or unauthorized or unintended accessing or use involving any System; or

                  (c)     creation, development, design, manufacture, programming, leasing, licensing,
                          distribution, assembly, installation, alteration, modification, or sale of any computer,
                          computer component (including but not limited to any hardware, network, terminal
                          device, data storage device, input and output device, or back up facility), application,
                          program, software, code, script, or data of any kind;

           (13)   liability of any individual or entity acting as an independent contractor for an Insured; except
                  this EXCLUSION (D)(13) will not apply to any Claim otherwise covered under INSURING
                  AGREEMENT (A) for the Insured’s vicarious liability with regard to such independent contractor;

           (14)   infringement of any right of patent, service mark, trademark, copyright, title or slogan; except
                  this EXCLUSION (D)(14) will not apply to liability of an Insured for infringement of copyright,
                  trade dress or slogan in an Advertisement;

           (15)   liability of any Insured for Managed Care Services; except this EXCLUSION (D)(15) will not
                  apply to liability of an Insured for Professional Services;

           (16)   evaluation of any provider of Medical Services by an Insured for purposes of selecting,
                  employing, contracting with or credentialing such provider of Medical Services, if such Claim is
                  made by or on behalf of any such provider of Medical Services;

           (17)   Claim made by or on behalf of any federal, state or local governmental or regulatory agency or
                  entity, including but not limited to any Claim alleging health care fraud and abuse or violation of
                  the Health Insurance Portability and Accountability Act of 1996 or the Health Information
                  Technology for Economic and Clinical Health Act, all as may be amended, or any rules or
                  regulations promulgated thereunder; or

           (18)   violation of the Employee Retirement Income Security Act of 1974 (ERISA), the Fair Labor
                  Standards Act (except the Equal Pay Act), the National Labor Relations Act, the Worker
                  Adjustment and Retraining Notification Act, the Consolidated Omnibus Budget Reconciliation Act,
                  the Occupational Safety and Health Act, all as may be amended, or any similar federal, state or
                  local statutory or common law, or any rules or regulations promulgated thereunder; except this
                  EXCLUSION (D)(18) will not apply to any Claim arising out of the rendering of, or failure to
                  render, Medical Services, which is otherwise covered under INSURING AGREEMENT (A) of this
                  Policy and for which reimbursement for such services was received from health care plans
                  covered by such statutes, rules or regulations.


     IV.   GENERAL CONDITIONS

     (A)   Limits of Liability

           (1)    Insuring Agreement (A) – Professional Liability

                  (a)     The “Each Claim” amount stated in ITEM 4.A. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from each Claim or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (A).



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                  (b)     The “Aggregate for all Claims” amount stated in ITEM 4.A. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from all Claims or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (A).

           (2)    Insuring Agreement (B) – General Liability

                  (a)     The “Each Claim” amount stated in ITEM 4.B. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from each Claim or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (B).

                  (b)     The Underwriter’s Limits of Liability for Claims alleging Bodily Injury or Property
                          Damage included in the Products and Completed Operations Hazard shall be equal
                          to, part of, and not in addition to, the “Each Claim” and “Aggregate for all Claims”
                          amounts stated in ITEM 4.B. of the Declarations.

                  (c)     The “Damage to Rented Premises” amount stated in ITEM 4.B. of the Declarations will be
                          the Underwriter’s maximum aggregate Limit of Liability for all (i) Claims for Property
                          Damage resulting from any and all fires caused by the Insured’s negligence and
                          occurring on premises rented to the Insured or temporarily occupied by the Insured
                          with the permission of the owner of such premises and (ii) Claims for Property
                          Damage (other than damage caused by fire) to premises, including the contents of such
                          premises, rented to the Insured for a period of seven (7) or fewer consecutive days.
                          Such amount shall be part of, and not in addition to, the “Aggregate for all Claims”
                          amount stated in ITEM 4.B. of the Declarations.

                  (d)     The “Aggregate for all Claims” amount stated in ITEM 4.B. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from all Claims or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (B).

           (3)    Insuring Agreement (C) – Employee Benefit Liability

                  (a)     The “Each Claim” amount stated in ITEM 4.C. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from each Claim or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (C).

                  (b)     The “Aggregate for all Claims” amount stated in ITEM 4.C. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from all Claims or
                          Related Claims for which this Policy provides coverage under INSURING AGREEMENT
                          (C).

           (4)    Insuring Agreement (D) – Evacuation Expense

                  (a)     The “Each Evacuation” amount stated in ITEM 4.D. of the Declarations will be the
                          Underwriter’s maximum Limit of Liability for all Loss resulting from each Evacuation for
                          which this Policy provides coverage under INSURING AGREEMENT (D).

                  (b)     The “Aggregate for all Evacuations” amount stated in ITEM 4.D. of the Declarations will
                          be the Underwriter’s maximum Limit of Liability for all Loss resulting from all
                          Evacuations for which this Policy provides coverage under INSURING AGREEMENT (D).

           (5)    Insuring Agreement (E) – Legal/Media Expense



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                  (a)     The “Each Legal Defense Proceeding” amount stated in ITEM 4.E. of the Declarations will
                          be the Underwriter’s maximum Limit of Liability for all Loss resulting from each Legal
                          Defense Proceeding for which this Policy provides coverage under INSURING
                          AGREEMENT (E).

                  (b)     The “Aggregate for all Legal Defense Proceedings” amount stated in ITEM 4.E. of the
                          Declarations will be the Underwriter’s maximum Limit of Liability for all Loss resulting
                          from all Legal Defense Proceedings for which this Policy provides coverage under
                          INSURING AGREEMENT (E).

           (6)    Each Limit of Liability described in paragraphs (1) through (5) above shall apply regardless of the
                  time of payment by the Underwriter, the number of persons or entities included within the
                  definition of Insured, or the number of claimants, and regardless of whether such Claim or
                  Related Claims is/are first made during the Policy Period or during any Extended Reporting
                  Period.

           (7)    (a)     The Insured shall be responsible for payment in full of the applicable deductible or self-
                          insured retention stated in ITEM 4 of the Declarations, and the Underwriter’s obligation
                          to pay Loss or Defense Expenses under this Policy shall be excess of such deductible
                          or self-insured retention; provided, that no deductible or self-insured retention shall apply
                          to (i) Claims for Property Damage resulting from any fire caused by the Insured’s
                          negligence and occurring on premises rented to the Insured or temporarily occupied by
                          the Insured with the permission of the owner of such premises or (ii) Claims for
                          Property Damage (other than damage caused by fire) to premises, including the
                          contents of such premises, rented to the Insured for a period of seven (7) or fewer
                          consecutive days, and which are subject to the “Damage to Rented Premises” Limit of
                          Liability set forth in ITEM 4.B. of the Declarations. The applicable deductible or self-
                          insured retention shall apply to each Claim or Related Claims (subject to the
                          applicable aggregate deductible or self-insured retention amount, if any), and shall be
                          eroded (or exhausted) by the Insured’s payment of Loss or Defense Expenses. The
                          Underwriter shall have no obligation whatsoever, either to the Insured or any other
                          person or entity, to pay all or any portion of the applicable deductible or self-insured
                          retention on behalf of the Insured. The Underwriter shall, however, at its sole
                          discretion, have the right and option to do so, in which event the Insured will repay the
                          Underwriter any amounts so paid.

                  (b)     If a “Deductible” is selected under any Insuring Agreement in ITEM 4 of the
                          Declarations, any amounts paid within such deductible will reduce, and may exhaust, the
                          applicable Limits of Liability for such Insuring Agreement.

                          If a “Self-Insured Retention” is selected under any Insuring Agreement in ITEM 4 of the
                          Declarations, any amounts paid within such self-insured retention will not reduce the
                          applicable Limits of Liability for such Insuring Agreement.

           (8)    All Insureds under this Policy share the Limits of Liability. In no event will the number of
                  Insureds involved in a Claim or Related Claims increase the applicable Limit of Liability.

           (9)    In the event a Claim under this Policy involves more than one (1) Insuring Agreement
                  hereunder, it is understood and agreed that only one (1) deductible or self-insured retention and
                  one (1) Limit of Liability will apply to such Claim, which shall be the highest applicable “Each
                  Claim” Limit of Liability stated in ITEM 4 of the Declarations and the deductible or self-insured
                  retention corresponding to such Limit of Liability.

           (10)   If any Claim made against the Insureds gives rise to coverage both under this Policy and under
                  any other policy or policies issued by the Underwriter or any affiliate of the Underwriter, the
                  Underwriter’s and, if applicable, such affiliate’s maximum aggregate limit of liability under all such

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                  policies for all Loss in respect of such Claim will not exceed the largest single available limit of
                  liability under any such policy, including this Policy. In no event will more than one policy issued
                  by the Underwriter respond to a Claim.

     (B)   Related Claims Deemed Single Claim:

           All Related Claims, whenever made, shall be deemed to be a single Claim, regardless of:

           (1)    the number of Related Claims;

           (2)    the number or identity of claimants;

           (3)    the number or identity of Insureds involved or against whom Related Claims have been or
                  could be made;

           (4)    whether the Related Claims are asserted in a class action or otherwise; and

           (5)    the number and timing of the Related Claims, even if the Related Claims comprising such
                  single Claim were made in more than one Policy Period.

           All Related Claims will be treated as a single Claim made when the earliest of such Related Claims
           was first made, or when the earliest of such Related Claims is treated as having been made in
           accordance with GENERAL CONDITION (C)(2) below, whichever is earlier.

     (C)   Reporting of Claims, Occurrences and Circumstances:

           (1)    If, during the Policy Period or any Extended Reporting Period, any Claim for a Wrongful Act
                  under INSURING AGREEMENT (A) or (C) is first made against an Insured, as a condition
                  precedent to its right to any coverage under this Policy, the Insured shall give the Underwriter
                  written notice of such Claim as soon as practicable thereafter, but in no event later than:

                  (a)     thirty (30) days after the Expiration Date or earlier cancellation date of this Policy; or

                  (b)     the expiration of any Extended Reporting Period.

                  Timely and sufficient notice by one Insured of a Claim shall be deemed timely and sufficient
                  notice for all Insureds involved in the Claim. Such notice shall give full particulars of the Claim,
                  including, but not limited to: a description of the Claim and Wrongful Act; the identity of the
                  patient, all potential claimants and the health care provider(s) and any Insureds involved; a
                  description of the injury or damages that resulted from such Wrongful Act; information on the
                  time, place and nature of the Wrongful Act; and the manner in which the Insured first became
                  aware of such Wrongful Act .

           (2)    If during the Policy Period an Insured first becomes aware of any Wrongful Act that may
                  subsequently give rise to a Claim under INSURING AGREEMENT (A) or (C) and:

                  (a)     gives the Underwriter written notice of such Wrongful Act with full particulars as soon
                          as practicable thereafter but in any event before the Expiration Date or earlier
                          cancellation date of this Policy; and

                  (b)     requests coverage under INSURING AGREEMENT (A) or (C) of this Policy for any Claim
                          subsequently arising from such Wrongful Act;

                  then any Claim not otherwise excluded by this Policy subsequently made against the Insured
                  arising out of such Wrongful Act shall be treated as if it had been first made during the Policy
                  Period. Full particulars shall include, but are not limited to: a description of the Wrongful Act;

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                  the identity of the patient, all potential claimants and the health care provider(s) and any
                  Insureds involved; information on the time, place and nature of the Wrongful Act; the manner
                  in which the Insured first became aware of such Wrongful Act; and the reasons the Insured
                  believes the Wrongful Act is likely to result in a Claim.

           (3)    If any Claim alleging Bodily Injury, Property Damage, Advertising Injury or Personal
                  Injury that is caused by an Occurrence under INSURING AGREEMENT (B) is first made against
                  an Insured, as a condition precedent to its right to any coverage under this Policy, the Insured
                  shall give the Underwriter written notice of such Claim as soon as practicable thereafter. Timely
                  and sufficient notice by one Insured of a Claim shall be deemed timely and sufficient notice for
                  all Insureds involved in the Claim. Such notice shall give full particulars of the Claim,
                  including, but not limited to: a description of the Claim and Occurrence; the identity of all
                  potential claimants and any Insureds involved; a description of the injury or damages that
                  resulted from such Occurrence; information on the time, place and nature of the Occurrence;
                  and the manner in which the Insured first became aware of such Occurrence.

                  If an Insured becomes aware of an Occurrence that may subsequently give rise to a Claim
                  under INSURING AGREEMENT (B), the Insured shall give the Underwriter written notice of such
                  Occurrence as soon as practicable thereafter. Such notice shall include a description of the
                  Occurrence; the identity of all potential claimants and any Insureds involved; a description of
                  the injury or damages that resulted from such Occurrence; information on the time, place and
                  nature of the Occurrence; the manner in which the Insured first became aware of such
                  Occurrence; and the reasons the Insured believes such Occurrence is likely to result in a
                  Claim.

           (4)    As a condition precedent to its right to any reimbursement under INSURING AGREEMENT (D) of
                  this Policy, the Named Insured shall provide the Underwriter written proof of payment of
                  Evacuation Expenses as soon as practicable, but in no event later than sixty (60) days after
                  the Expiration Date or earlier cancellation date of this Policy.

           (5)    As a condition precedent to its right to any reimbursement under INSURING AGREEMENT (E) of
                  this Policy:

                  (a)     the Insured shall provide the Underwriter written notice of any Legal Defense
                          Proceeding as soon as practicable, but in no event later than thirty (30) days after the
                          Insured first receives notice of such Legal Defense Proceeding; and

                  (b)     the Named Insured shall provide the Underwriter written proof of payment of
                          Legal/Media Expenses in connection with such Legal Defense Proceeding within
                          sixty (60) days of the Insured’s payment of such Legal/Media Expenses.

     (D)   Defense and Settlement:

           (1)    No Insured shall, except at its own cost, incur any expense, make any payment, admit liability
                  for, assume any obligation, or settle any Claim without the Underwriter’s written consent. With
                  respect to any Claim, the Underwriter will have the right to investigate, direct the defense, and
                  conduct settlement negotiations it deems appropriate. The Underwriter may make any settlement
                  of any Claim which it deems appropriate.

           (2)    The Underwriter will have no obligation to pay Loss or Defense Expenses, or continue to direct
                  the defense of any Insured, after the applicable Limit of Liability has been exhausted by the
                  payment of Loss.

           (3)    If both Loss covered by this Policy and Loss not covered by this Policy are incurred, either
                  because a Claim made against the Insureds includes both covered and uncovered matters, or
                  because a Claim is made against both Insureds and others not included within the definition of

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                   “Insured” set forth in DEFINITION (S) above, the Insureds and the Underwriter agree to use
                   their best efforts to determine a fair and proper allocation of all such amounts. The
                   Underwriter’s obligation to pay Loss under this Policy shall relate only to those sums allocated to
                   the Insureds. In making such determination, the parties shall take into account the relative
                   legal and financial exposures of, and relative benefits obtained in connection with the defense
                   and/or settlement of the Claim by the Insureds and others. In the event that the Underwriter
                   and the Insureds do not reach an agreement with respect to an allocation, then the Underwriter
                   shall be obligated to make an interim payment of the amount of Loss which the parties agree is
                   not in dispute until a final amount is agreed upon or determined pursuant to the provisions of
                   this Policy and applicable law.

     (E)   Territory:

           This Policy applies to Wrongful Acts or Occurrences taking place anywhere in the world. Claim or suit
           must be made against an Insured, however, in the United States of America, including its territories or
           possessions, Puerto Rico, or Canada.

     (F)   Mergers, Acquisitions or Newly Created Entities:

           If, during the Policy Period, the Named Insured acquires or creates another entity or subsidiary or
           becomes a member of a joint venture or partner in a partnership, or if the Named Insured merges or
           consolidates with another entity such that the Named Insured is the surviving entity (any such
           acquired, created, merged or consolidated entity an “Acquired Entity”), then for a period of sixty (60)
           days after the effective date of the transaction, such Acquired Entity shall be included within the term
           “Named Insured” with respect to Wrongful Acts or Occurrences happening after the effective date
           of the transaction. Upon the expiration of the sixty (60) day period, there will be no coverage under this
           Policy for any Claim in any way involving the Acquired Entity or its Insureds unless within such sixty
           (60) day period:

           (1)     the Named Insured gives the Underwriter such information regarding the transaction as the
                   Underwriter requests; and

           (2)     the Underwriter has specifically agreed by written endorsement to this Policy to provide coverage
                   with respect to such Acquired Entity and its Insureds, and the Named Insured accepts any
                   terms, conditions, exclusions or limitations, including payment of additional premium, as the
                   Underwriter, in its sole discretion, imposes in connection with the transaction.

           For purposes of this GENERAL CONDITION (F), “subsidiary” means any entity for which the Named
           Insured owns or possesses fifty percent (50%) of the issued and outstanding capital stock, or has or
           controls the right to elect or appoint more than fifty percent (50%) of the directors or trustees.

     (G)   Sales or Dissolution of Insured Entities; Cessation of Business:

           (1)     If, during the Policy Period:

                   (a)     the First Named Insured is dissolved, sold, acquired by, merged into, or consolidated
                           with another entity such that the First Named Insured is not the surviving entity; or

                   (b)     any person, entity, or affiliated group of persons or entities obtains:

                           (i)     ownership or possession of fifty percent (50%) or more of the issued and
                                   outstanding capital stock of the First Named Insured; or

                           (ii)    the right to elect or appoint more than fifty percent (50%) of the First Named
                                   Insured’s directors or trustees; or



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                   (c)      the First Named Insured ceases to do business for any reason;

                   (any of which events is referred to as a “Transaction” in this GENERAL CONDITION (G)) coverage
                   under this Policy shall continue in full force and effect until the Expiration Date or any earlier
                   cancellation date, but this Policy shall apply only to Occurrences or Wrongful Acts happening
                   before the effective date of such Transaction. This Policy will not apply to, and the Underwriter
                   will not pay any Loss or Defense Expenses for, any Claim based upon, arising out of, directly
                   or indirectly resulting from, in consequence of, or in any way involving, any Occurrence or
                   Wrongful Act happening on or after the effective date of such Transaction. It is further
                   understood and agreed that if such a Transaction occurs during the Policy Period, then no
                   coverage will be available for any Evacuation that occurs on or after the effective date of such
                   Transaction or any Legal Defense Proceeding that is first brought against an Insured on or
                   after the effective date of such Transaction.

           (2)     If, during the Policy Period, any Named Insured, other than the First Named Insured, is
                   involved in an event described in paragraph (1) above, then solely with respect to such Named
                   Insured and its Insureds, coverage under this Policy for Occurrences or Wrongful Acts
                   happening before the effective date of such event shall continue in full force and effect until the
                   Expiration Date or any earlier cancellation date and this Policy will not apply to, and the
                   Underwriter will not pay any Loss or Defense Expenses for, any Claim based upon, arising out
                   of, directly or indirectly resulting from, in consequence of, or in any way involving, any
                   Occurrence or Wrongful Act happening on or after the effective date of such event. It is
                   further understood and agreed that if any Named Insured, other than the First Named
                   Insured, is involved in an event described in paragraph (1) above during the Policy Period,
                   then solely with respect to such Named Insured and its Insureds, no coverage will be
                   available for any Evacuation that occurs on or after the effective date of such event or any
                   Legal Defense Proceeding that is first brought against an Insured on or after the effective
                   date of such event.

     (H)   Extended Reporting Period for INSURING AGREEMENTS (A) and (C):

           If this Policy is canceled for any reason other than fraud, misrepresentation or non-payment of premium
           or is not renewed by the Underwriter or the First Named Insured, an additional period of time during
           which Claims made under INSURING AGREEMENTS (A) and (C) of this Policy may be reported (an
           “Extended Reporting Period”) shall be made available as described in this GENERAL CONDITION (H), but
           any such Extended Reporting Period shall apply only to Claims for Wrongful Acts committed or
           allegedly committed before the effective date of such cancellation or non-renewal (the “Termination
           Date”) or the date of any conversion of coverage under GENERAL CONDITION (G), whichever is earlier.
           No Extended Reporting Period shall in any way increase the Underwriter’s Limits of Liability as stated in
           ITEM 4 of the Declarations, and the Underwriter’s Limit of Liability for Claims made during any Extended
           Reporting Period shall be part of, and not in addition to, the Limits of Liability stated in ITEM 4 of the
           Declarations. The Extended Reporting Period will apply as follows:

           (1)     An Extended Reporting Period of sixty (60) days, beginning as of the Termination Date, will apply
                   automatically and requires no additional premium; provided, that such Extended Reporting Period
                   will remain in effect only as long as no other policy of insurance is in effect that would apply to
                   any Claim made during such Extended Reporting Period.

           (2)     The First Named Insured may purchase an additional Extended Reporting Period for one of
                   the periods of time stated in ITEM 7 of the Declarations by notifying the Underwriter in writing of
                   its intention to do so no later than thirty (30) days after the Termination Date. The additional
                   premium for this additional Extended Reporting Period shall be equal to the applicable amount
                   stated in ITEM 7 of the Declarations and must be paid no later than thirty (30) days after the
                   Termination Date. Such additional premium shall be deemed fully earned upon inception of
                   such Extended Reporting Period.



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           If no election to purchase an additional Extended Reporting Period is made as described in GENERAL
           CONDITION (H)(2) above, or if the additional premium for any such Extended Reporting Period is not
           paid within thirty (30) days after the Termination Date, there will be no right to purchase an additional
           Extended Reporting Period at any later time.

     (I)   Cancellation; Non-Renewal:

           (1)     The Underwriter may cancel this Policy by mailing written notice to the First Named Insured at
                   the last known address shown on the Declarations stating when, not less than sixty (60) days
                   thereafter (or such longer period of time as required by applicable law), such cancellation shall
                   be effective; except that, in the event of cancellation for non-payment of premium, the
                   Underwriter may make the cancellation effective upon notice of only ten (10) days (or such
                   longer period of time as required by applicable law). Notwithstanding the foregoing, if the
                   Underwriter receives no premium whatsoever by the premium due date and no premium
                   whatsoever is received by the last day of such ten (10) day notice period (or such longer period
                   of time as required by applicable law), the Underwriter may cancel this Policy as of the Inception
                   Date set forth in ITEM 2(a) of the Declarations.

           (2)     Except as set forth in GENERAL CONDITION (M), the First Named Insured may cancel this
                   Policy by mailing the Underwriter written notice stating when, not later than the Expiration Date
                   set forth in ITEM 2(b) of the Declarations, such cancellation will be effective. In such event, and
                   subject at all times to GENERAL CONDITION (N), the earned premium will be computed in
                   accordance with the customary short rate table and procedure. Premium adjustment may be
                   made either at the time cancellation is effective or as soon as practicable after cancellation
                   becomes effective, but payment or tender of unearned premium is not a condition of
                   cancellation.

           (3)     The Underwriter will not be required to renew this Policy upon its expiration.

     (J)   Assistance and Cooperation:

           In the event of a Claim, the Insured shall provide the Underwriter with all information, assistance and
           cooperation that the Underwriter reasonably requests. At the Underwriter’s request, the Insured shall
           assist in: investigating, defending and settling Claims; enforcing any right of contribution or indemnity
           against another who may be liable to any Insured; the conduct of actions, suits, appeals or other
           proceedings, including, but not limited to, attending trials, hearings and depositions; securing and giving
           evidence; and obtaining the attendance of witnesses.

     (K)   Subrogation:

           In the event of any payment hereunder, the Underwriter shall be subrogated to the extent of any
           payment to all of the rights of recovery of the Insured. The Insured shall execute all papers and do
           everything necessary to secure such rights, including the execution of any documents necessary to
           enable the Underwriter effectively to bring suit in its name. The Insured shall do nothing that may
           prejudice the Underwriter’s position or potential or actual rights of recovery. The obligations of the
           Insured under this GENERAL CONDITION (K) shall survive the expiration or termination of the Policy.

     (L)   Other Insurance and Risk Transfer Arrangements:

           Any Loss or Defense Expenses resulting from any Claim insured under any other insurance or self-
           insurance policy or program or risk transfer instrument, including, but not limited to, self-insured
           retentions, deductibles, fronting arrangements, professional liability policies covering any Insured, or
           other alternative arrangements which apply to the Loss or Defense Expenses shall be paid first by
           those instruments, policies or other arrangements. It is the intent of this Policy to apply only to Loss or
           Defense Expenses that are more than the total limit of all deductibles, limits of liability, self-insured
           amounts or other insurance or risk transfer arrangements, whether primary, contributory, excess,

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           contingent, fronting or otherwise and whether or not collectible. These provisions do not apply to other
           insurance policies or risk transfer arrangements written as specific umbrella or excess insurance over the
           applicable Limits of Liability of this Policy. This Policy shall not be subject to the terms of any other policy
           of insurance or plan or program of self-insurance; and in no event will the Underwriter pay more than the
           applicable Limits of Liability set forth in ITEM 4 of the Declarations.

     (M)   Exhaustion:

           If the Underwriter’s applicable Aggregate Limit of Liability for any Insuring Agreement, as set forth in
           ITEM 4 of the Declarations, is exhausted by the payment of Loss, all obligations of the Underwriter under
           such Insuring Agreement will be completely fulfilled and exhausted, including any obligation to pay
           Defense Expenses or to continue to direct the defense of any Insured, and the Underwriter will have
           no further obligations of any kind or nature whatsoever under such Insuring Agreement.

           If all of the Underwriter’s applicable Limits of Liability are exhausted by the payment of Loss, the
           premium will be fully earned, all obligations of the Underwriter under this Policy will be completely
           fulfilled and exhausted, including any obligation to pay Defense Expenses or to continue to direct the
           defense of any Insured, and the Underwriter will have no further obligations of any kind or nature
           whatsoever under this Policy.

     (N)   Minimum Earned Premium:

           The percentage set forth in ITEM 6.B. of the Declarations is the percentage of the Policy Premium set
           forth in ITEM 6.A. of the Declarations that shall be deemed fully earned as of the Inception Date set forth
           in ITEM 2(a) of the Declarations.

     (O)   Risk Management:

            The Underwriter directly or indirectly may make available risk management services in connection with
            this Policy for the purpose of managing and reducing the risks covered under this Policy. Such risk
            management services may cease or change in the Underwriter’s sole discretion at any time.

     (P)   Authorization and Notices:

           The First Named Insured will act on behalf of all Insureds with respect to: the giving or receiving of
           any notices under this Policy; the payment of premiums to, and receiving of return premiums from, the
           Underwriter; the receiving and acceptance of any endorsements issued to form a part of this Policy; and
           the exercising or declining to exercise any Extended Reporting Period.

     (Q)   Conformance:

           Any terms of this Policy that are in conflict with the laws or regulations of the state in which this Policy is
           issued are amended to conform with such laws or regulations.

     (R)   Representation; Incorporation of Application:

           The Insureds represent that the particulars and statements contained in the Application attached to this
           Policy are true, accurate and complete and agree that:

           (1)     this Policy is issued and continued in force by the Underwriter in reliance upon the truth of such
                   representation;

           (2)     those particulars and statements are the basis of this Policy; and

           (3)     the Application and those particulars and statements are incorporated in and form a part of this
                   Policy.

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           No knowledge or information possessed by any Insured shall be imputed to any other Insured, except
           for material facts or information known to the person or persons who signed the Application. In the event
           of any material untruth, misrepresentation or omission in connection with any of the particulars or
           statements in the Application, this Policy shall be void with respect to any Insured who knew of such
           untruth, misrepresentation or omission or to whom such knowledge is imputed.

     (S)   No Action against Underwriter:

           (1)       No action shall be taken against the Underwriter by any Insured unless, as conditions precedent
                     thereto, the Insured has fully complied with all of the terms of this Policy and the amount of the
                     Insured’s obligation to pay has been finally determined either by judgment against the Insured
                     after adjudicatory proceedings or by written agreement of the Insured, the claimant and the
                     Underwriter.

           (2)       No individual or entity shall have any right under this Policy to join the Underwriter as a party to
                     any Claim to determine the liability of any Insured; nor shall the Underwriter be impleaded by
                     an Insured or his, her, or its legal representative in any such Claim.

     (T)   Notice:

           (1)       Notice to any Insured shall be sent to the First Named Insured at the address designated in
                     ITEM 1 of the Declarations.

           (2)       Notice to the Underwriter shall be sent to the address designated in ITEM 8 of the Declarations.

     (U)   Changes:

           Notice to or knowledge possessed by any agent or other person acting on behalf of the Underwriter shall
           not effect a waiver or change in any part of this Policy or prevent or estop the Underwriter from asserting
           any right(s) under this Policy. This Policy can only be altered, waived, or changed by written
           endorsement issued to form a part of this Policy.

     (V)   Insolvency of Insured:

           The Underwriter will not be relieved of any of its obligations under this Policy by the bankruptcy or
           insolvency of any Insured or his/her/its estate.

     (W)   Inspections and Surveys:

           The Underwriter or its duly authorized agent has the right but is not obliged to:

           (1)       make inspections and surveys of the Named Insured’s premises and operations at any time;

           (2)       provide the Insured with reports on the conditions found;

           (3)       recommend changes;

           (4)       conduct loss control and prevention activity.

           Any inspections, surveys, reports, or recommendations relate only to insurability and the premium to be
           charged.

           The Underwriter does not:

           (a)       make safety inspections;

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                                                                                                                 Ex. 6


            (b)     undertake to perform the duty of any entity to provide for the health or safety of workers or the
                    public; or

            (c)     warrant that conditions:

                    (i)     are safe or healthy; or

                    (ii)    comply with laws, regulations or codes.

     (X)    Examination of Books and Records:

            The Underwriter may examine and audit the books and records of the Insured as they relate to this
            Policy.

     (Y)    Service of Suit:

            Pursuant to any statute of any state, territory or district of the United States which makes provision
            therefor, the Underwriter hereby designates the Superintendent, Commissioner or Director of Insurance
            or other officer specified for that purpose by statute, as its true and lawful attorney upon whom may be
            served any lawful process in any action, suit or proceeding instituted by or on behalf of the Insured, or
            any beneficiary hereunder, arising out of this contract of insurance.

     (Z)    Assignment:

            No assignment of interest under this Policy shall bind the Underwriter without its written consent issued
            as a written endorsement to form a part of this Policy.

     (AA)   Entire Agreement:

            The Insureds agree that this Policy, including the Application and any endorsements, constitutes the
            entire agreement between them and the Underwriter or any of its agents relating to this insurance.

     (BB)   Headings:

            The descriptions in the headings and sub-headings of this Policy are solely for convenience, and form no
            part of the terms and conditions of coverage.


     In witness whereof the Underwriter has caused this Policy to be executed by its authorized officers.




     HPF-30001-03-13                                                                                     Page 27 of 27


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                                                                                                                     Ex. 6

                                                  ENDORSEMENT NO. 1

                    AMEND PRIOR KNOWLEDGE EXCLUSION (D)(1) ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017               , forms part of

           Policy No.       MFL-004062-0617
           Issued by        Homeland Insurance Company of New York
           Issued to        Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Section III EXCLUSIONS (D)(1) of this Policy is amended to read in its
     entirety as follows:

             (1)        act, error, omission or Wrongful Act if, on or before the Inception Date set forth in ITEM 2 of
                        the Declarations, the
                        Risk Management Dept of Legal Dept or any Executive

                        of the Named Insured knew or reasonably could have foreseen that such act, error, omission,
                        or Wrongful Act might result in a Claim.

                        If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
                        to the First Named Insured, and the coverage provided by the Underwriter to the First
                        Named Insured was in effect, without interruption, for the entire time between the inception
                        date of the first such other policy and the Inception Date of this Policy, the reference in this
                        EXCLUSION (D)(1) to the Inception Date will be deemed to refer instead to the inception date of
                        the first policy under which the Underwriter began to provide the First Named Insured with
                        the continuous and uninterrupted coverage of which this Policy is a renewal;


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00023-03-13                                                                                         Page 1 of 1


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                                                                                                                 Ex. 6

                                               ENDORSEMENT NO. 2

                   AMEND CANCELLATION TO NINETY (90) DAYS ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017             , forms part of:

             Policy No.    MFL-004062-0617
             Issued by     Homeland Insurance Company of New York
             Issued to     Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, paragraph (1) of Section IV GENERAL CONDITIONS (I) of this Policy is
     amended to read in its entirety as follows:

             (1)     The Underwriter may cancel this Policy by mailing written notice to the First Named Insured at
                     the last known address shown on the Declarations stating when, not less than ninety (90) days
                     thereafter (or such longer period of time as required by applicable law), such cancellation shall
                     be effective; except that, in the event of cancellation for non-payment of premium, the
                     Underwriter may make the cancellation effective upon notice of only ten (10) days (or such
                     longer period of time as required by applicable law). Notwithstanding the foregoing, if the
                     Underwriter receives no premium whatsoever by the premium due date and no premium
                     whatsoever is received by the last day of such ten (10) day notice period (or such longer period
                     of time as required by applicable law), the Underwriter may cancel this Policy as of the Inception
                     Date set forth in ITEM 2(a) of the Declarations.


     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00042-02-13                                                                                       Page 1 of 1


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                                                ENDORSEMENT NO. 3

           ADDITIONAL NAMED INSURED – RELATED TO ORIGINAL NAMED INSURED
                                  ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017               , forms part of:

           Policy No.       MFL-004062-0617
           Issued by        Homeland Insurance Company of New York
           Issued to        Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)    The term “Named Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to include
            the entity(ies) scheduled below (each an “Additional Named Insured”), but solely:

            (a)         with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                        is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                        Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                        on behalf of, and within the capacity and scope of its duties for

                        Sonic Healthcare Investments, G.P.

                        ; and

            (b)         for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                        Named Insured in the schedule below and Occurrences happening on or after the effective date
                        of this endorsement:

            SCHEDULE


             Additional Named Insured:                                                 Retroactive Date:
             Sonic Healthcare USA, Inc                                                 February 05, 2007
             Sunrise Medical Laboratories, Inc                                         March 05, 1995
             Clinical Pathology Laboratories, Inc                                      October 01, 2000
             Mullins Pathology & Cytology Laboratory,                                  April 30, 2007
               Inc
             Woodbury Clincal Pathology, Inc                                           January 05, 1992
             Memphis Pathology Laboratory                                              January 07, 2007
             Clinical Laboratory Services, Inc                                         January 07, 2007
             Fairfax Medical Laboratories, Inc                                         June 19, 2006
             Pathology Laboratories, Inc dba Lima                                      March 01, 1987
               Pathology Laboratories
             Cognoscenti Health Institute, LLC                                         September 01, 2006
             DRL Labs, Ltd. Completely merged into                                     March 28, 2003
               Clinical Pathology as of 03/28/2003
             American Esoteric Laboratories, Inc.                                      TBD
               Closed Lab in March 2007 - Continues


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                                                                                                                    Ex. 6


             Additional Named Insured:                                                   Retroactive Date:
               as a holding company
             Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
             American Clinical Services                                                  February 01, 2004
             Clinical Pathology Laboratories                                             March 29, 2010
               Southwest, Inc
             Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
             Pan Pacific Pathologists, LLC                                               August 01, 1985
             East Side Clinical Laboratory, Inc                                          June 30, 1990
             Physician's Automated Laboratory                                            June 01, 1989
             CBLPath Holdings Corp                                                       May 01, 2004
             CBLPath Inc                                                                 July 01, 2004
             CBLPath Transport                                                           January 01, 2007
             Sonic Healthcare Limited                                                    February 05, 2007
             Douglass Hanly Moir Pathology Pty                                           February 05, 2007
               Limited
             Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
             Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
             Sonic Reference Laboratory Inc                                              December 01, 2014
             Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
               date 06.30.2013)
             Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
             Clinical Pathology Laboratories,                                            March 29, 2010
               Southeast, Inc
             Memphis Pathology Holdings, LLC                                             September 23, 2016
             BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016

     (2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
             Liability set forth in ITEM 4 of the Declarations.

     (3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
             intent of this endorsement.


     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00063-04-11                                                                                          Page 2 of 2


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                                                ENDORSEMENT NO. 4                                                      Ex. 6

                NOTICE OF CANCELLATION TO SCHEDULED PARTY ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017              , forms part of:

           Policy No.    MFL-004062-0617
           Issued by     Homeland Insurance Company of New York
           Issued to     Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)     If the Underwriter cancels this Policy for any reason other than non-payment of premium, the
             Underwriter will endeavor to provide notice of such cancellation to the individual(s) or entity(ies)
             identified in the schedule below (each a “Scheduled Party”), at the address set forth next to the
             Scheduled Party’s name, when notice of cancellation is sent to the First Named Insured. In no event
             will the timing of notice to a Scheduled Party exceed the timing of notice to the First Named Insured.
             It is understood and agreed that notice of cancellation to a Scheduled Party is provided solely as a
             courtesy for the convenience of the First Named Insured and does not constitute a prerequisite to
             effective policy cancellation.

     (2)     Failure to provide notice of cancellation to a Scheduled Party shall impose no liability of any kind or
             nature whatsoever on the Underwriter and shall not amend or extend the effective date of policy
             cancellation or invalidate the cancellation.

      Scheduled Party:                                           Scheduled Party Address:

      State of Hawaii, Department of Public                      919 Ala Moana Boulevard, Honolulu,
        Safety, ASO-Purchasing and Contracts                       Hawaii 96814
        Staff
      County of Kern Public Health Services                      1800 Mount Vernon Avenue, 3rd Floor,
        Department                                                 Bakersfield, CA 93306-3302
      MediGold, Provider Credentialing                           6150 East Broad Street, Columbus, Ohio
                                                                   43213



     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00064-07-11                                                                                         Page 1 of 1


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                                                 ENDORSEMENT NO. 5

           SCHEDULE OF INSURED PHYSICIANS AND LOCUM TENENS ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017              , forms part of:

           Policy No.      MFL-004062-0617
           Issued by       Homeland Insurance Company of New York
           Issued to       Sonic Healthcare Investments, G.P.




     In consideration of the premium charged:

     (1)     Notwithstanding anything to the contrary contained in this Policy or any endorsement thereto, the term
             “Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to include the physician(s)
             scheduled below, but only while rendering Professional Services on behalf of, and within the scope
             and capacity of his or her duties for, the Named Insured.

             SCHEDULE
             Name                                                Retroactive Date         Specialty
             On file with company                                August 01, 2012          Physician

     (2)     The term “Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to include any
             Locum Tenens, but only when such Locum Tenens is acting within the capacity and scope of his or
             her duties as such. Coverage for any Locum Tenens shall only extend for up to sixty (60) days during
             the Policy Period per Insured physician for whom such Locum Tenens is serving as a substitute.

     (3)     Section II DEFINITIONS of this Policy is amended to include the following term:
                     “Locum Tenens” means any physician who is temporarily serving as a substitute physician for
                     an Insured physician scheduled in paragraph (1) above while such Insured physician is
                     temporarily absent from professional practice.

     (4)     No coverage will be available under this Policy for Loss or Defense Expenses for any Claim based
             upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
             actual or alleged Professional Services Wrongful Act committed or allegedly committed by any
             Insured physician scheduled in paragraph (1) above:

             (a)        prior to the Retroactive Date set forth opposite such Insured physician’s name; or

             (b)        on or after (i) the date such Insured physician ceased to be an employee of the Named
                        Insured or (ii) the termination date of the contract or agreement under which such Insured
                        physician was rendering Professional Services on behalf of the Named Insured.

     (5)     It is understood and agreed that the Insured physicians scheduled in paragraph (1) above and any
             Locum Tenens share in the applicable Limits of Liability set forth in ITEM 4 of the Declarations.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-30017A-02-10                                                                                        Page 1 of 1


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                                                                                                                    Ex. 6

                                                 ENDORSEMENT NO. 6

        DEDUCTIBLE/SELF-INSURED RETENTION – INDEMNITY ONLY ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017              , forms part of:

           Policy No.           MFL-004062-0617
           Issued by            Homeland Insurance Company of New York
           Issued to            Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, subparagraph (a) of Section IV GENERAL CONDITIONS (A)(7) of this
     Policy is amended to read in its entirety as follows:

             (a)        The Insured shall be responsible for payment in full of the applicable deductible or self-insured
                        retention stated in ITEM 4 of the Declarations, and the Underwriter’s obligation to pay Loss
                        under this Policy shall be excess of such deductible or self-insured retention; provided, that no
                        deductible or self-insured retention shall apply to (i) Claims for Property Damage resulting
                        from any fire caused by the Insured’s negligence and occurring on premises rented to the
                        Insured or temporarily occupied by the Insured with the permission of the owner of such
                        premises or (ii) Claims for Property Damage (other than damage caused by fire) to premises,
                        including the contents of such premises, rented to the Insured for a period of seven (7) or
                        fewer consecutive days, and which are subject to the “Damage to Rented Premises” Limit of
                        Liability set forth in ITEM 4.B. of the Declarations. The applicable deductible or self-insured
                        retention shall apply to each Claim or Related Claims (subject to the applicable aggregate
                        deductible or self-insured retention amount, if any), and shall be eroded (or exhausted) by the
                        Insured’s payment of Loss. The Underwriter shall have no obligation whatsoever, either to the
                        Insured or any other person or entity, to pay all or any portion of the applicable deductible or
                        self-insured retention on behalf of the Insured. The Underwriter shall, however, at its sole
                        discretion, have the right and option to do so, in which event the Insured will repay the
                        Underwriter any amounts so paid.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-30028-03-13                                                                                          Page 1 of 1


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                                                                                                                     Ex. 6

                                                 ENDORSEMENT NO. 7

                                    PEER REVIEW COVERAGE ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                 , forms part of:

           Policy No.           MFL-004062-0617
           Issued by            Homeland Insurance Company of New York
           Issued to            Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)     Subparagraph (3) of the term “Professional Services,” as defined in Section II DEFINITIONS of this
             Policy, is amended to read in its entirety as follows:

                        (3)    the activities of an Insured as a member of a board or committee of the Named
                               Insured, or as a member of any committee of the medical or professional staff of the
                               Named Insured, when engaged in Peer Review or Utilization Review;

     (2)     Section II DEFINITIONS of this Policy is amended to include the following term:

                        “Peer Review” means the process of evaluating, by members of a formal, duly constituted
                        professional review board or committee of the Named Insured, any individual or entity for
                        purposes of selecting, employing, contracting with or credentialing current or prospective
                        providers of Medical Services.

     (3)     Section III EXCLUSIONS (D)(8) of this Policy will not apply to any Claim for Peer Review activities
             otherwise covered under INSURING AGREEMENT (A) of this Policy.

     (4)     Section III EXCLUSIONS (D)(16) of this Policy is deleted in its entirety.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-30060-03-13                                                                                           Page 1 of 1


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                                                                                                                  Ex. 6

                                                 ENDORSEMENT NO. 8

                    HIPAA VIOLATION REIMBURSEMENT COVERAGE ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017              , forms part of

           Policy No.         MFL-004062-0617
           Issued by          Homeland Insurance Company of New York
           Issued to          Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)     In addition to the coverage afforded under all INSURING AGREEMENTS of this Policy, upon satisfactory
             proof of payment by the Named Insured, the Underwriter will reimburse the Named Insured, up to
             the Limit of Liability set forth in paragraph (4) below, for HIPAA Fines and Penalties actually paid by
             the Named Insured resulting from a HIPAA Violation that occurs during the Policy Period.

     (2)     Section II DEFINITIONS of this Policy is amended to include the following terms:

                        “HIPAA Fines and Penalties” means any civil fines or penalties imposed upon an Insured for
                        violation of Title II of the Health Insurance Portability and Accountability Act of 1996.

                        “HIPAA Violation” means any violation by an Insured of Title II of the Health Insurance
                        Portability and Accountability Act of 1996.

     (3)     Solely with respect to the coverage afforded under paragraph (1) above, clause (c) of the term “Loss,”
             as defined in Section II DEFINITIONS of this Policy, is amended to read in its entirety as follows:

                        (c)      fines, penalties, sanctions, fees, government payments or taxes, except HIPAA Fines
                                 and Penalties;

     (4)     The Underwriter’s maximum aggregate Limit of Liability for all HIPAA Fines and Penalties resulting
             from all HIPAA Violations reimbursed under paragraph (1) above shall be $                        .
             Payment of such maximum aggregate Limit of Liability shall terminate the Underwriter’s obligation to
             reimburse any further HIPAA Fines and Penalties under this Policy.

     (5)     If, during the Policy Period, a HIPAA Violation occurs, as a condition precedent to its right to
             reimbursement under paragraph (1) above, the Named Insured shall give the Underwriter written
             notice of such HIPAA Violation as soon as practicable thereafter, but in no event later than thirty (30)
             days after the Expiration Date or earlier cancellation date of this Policy.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-30065-03-13                                                                                        Page 1 of 1


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                                                                                                                     Ex. 6

                                                   ENDORSEMENT NO. 9

           DELETE GENERAL LIABILITY AND EMPLOYEE BENEFIT LIABILITY COVERAGES
                        WITH PRODUCT EXCLUSION ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                , forms part of:

            Policy No.           MFL-004062-0617
            Issued by            Homeland Insurance Company of New York
            Issued to            Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, it is understood and agreed that:

     (1)      No coverage will be available under this Policy for any General Liability coverage or Employee Benefit
              Liability coverage. Accordingly:

              (a)        INSURING AGREEMENTS (B) and (C) of this Policy are deleted in their entirety. Any and all
                         references in this Policy to INSURING AGREEMENT (B) or (C) are deleted.

              (b)        Section III EXCLUSIONS (B) and (C) of this Policy are deleted in their entirety.

              (c)        Each of ITEMS 3 and 4 of the Declarations is amended by deleting clauses “B” and “C” therefrom.

     (2)      No coverage will be available under this Policy for Loss or Defense Expenses for any Claim based
              upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way involving any
              actual or alleged malfunction of any product or failure of any product to perform in any manner as a result
              of any defect, deficiency or inadequacy in the design or manufacture of such product.




     All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                                                                              Ex. 6



                                            ENDORSEMENT NO. 10

                                FRONTED DEDUCTIBLE ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.    MFL-004062-0617
               Issued by     Homeland Insurance Company of New York
               Issued to     Sonic Healthcare Investments, G.P.

        In consideration of the premium charged, in accordance with Section IV GENERAL CONDITIONS
        (A)(7)(a) of this Policy, the Underwriter has agreed to pay the applicable deductible on behalf of
        the Insured; provided, that the Insured understands and agrees that he/she/it shall repay the
        Underwriter any amounts so paid as soon as practicable upon demand of the Underwriter.


        All other terms, conditions and limitations of this Policy shall remain unchanged.




        HPE-00038-08-09                                 1

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                                                  ENDORSEMENT NO. 11

                 SEXUAL MISCONDUCT/PHYSICIAL ABUSE INSURING AGREEMENT
                                    ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.         MFL-004062-0617
               Issued by          Homeland Insurance Company of New York
               Issued to          Sonic Healthcare Investments, G.P.

        In consideration of the premium charged:

        (1)     ITEM 3 of the Declarations is amended to include the following:

                                           Coverage                           Type          Retroactive Date
                       F. Sexual Misconduct/Physical Abuse Liability         Claims Made     02.05.2007

        (2)     ITEM 4 of the Declarations is amended to include the following at the end thereof:

                       F.         Sexual Misconduct/Physical Abuse Liability
                                       Each Claim…………………………………………$
                                       Aggregate for all Claims………………………$
                                       Deductible × Self-Insured Retention
                                               Per Claim…………………………………….$
                                               Aggregate……………………………………N/A

        (3)     Section I INSURING AGREEMENTS (F) of this Policy is amended to read in its entirety as
                follows:

                            (F)      Defense and Supplementary Payments:

                                      The Underwriter has the right and duty to defend any Claim that is
                                      covered by INSURING AGREEMENTS (A), (B), (C) and (G) of this Policy,
                                      even if any of the allegations of such Claim are groundless, false or
                                      fraudulent. In addition to the Limits of Liability for INSURING
                                      AGREEMENTS (A), (B), and (C), and as part of and not in addition to the
                                      Limits of Liability for INSURING AGREEMENT (G), the Underwriter will pay
                                      Defense Expenses and will:

                                     (1)      pay the premium on any bond to release attachments for an
                                              amount not in excess of the Limits of Liability for INSURING
                                              AGREEMENTS (A), (B), (C) and (G) of this Policy and the premium
                                              on any appeal bond required in any defended suit, provided, that
                                              the Underwriter will not be obligated to apply for or furnish any
                                              such bond;

                                     (2)      pay all costs imposed against the Insured in any such suit;

                                     (3)      provide a legal defense and pay Defense Expenses for any
                                              arbitration, mediation or other alternative dispute proceeding if:




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                                                                                                                  Ex. 6



                                       (a)     the dispute at issue is a Claim covered by this Policy, and

                                       (b)     the Insured provides notice of the proceeding as required
                                               by GENERAL CONDITION (C) of this Policy; and

                               (4)     pay reasonable expenses, plus loss of earnings due to time off
                                       from work, incurred by an Insured as a result of being a
                                       defendant or co-defendant in a Claim or at the Underwriter’s
                                       request, but not to exceed:

                                       (a)           per day per Insured; and

                                       (b)              per Claim.

        (4)    Section I INSURING AGREEMENTS of this Policy is amended to include the following at the
               end thereof:

                       (G)     Claims Made Sexual Misconduct/Physical Abuse Liability
                               Insurance:

                               The Underwriter will pay up to the applicable Limit of Liability shown in
                               ITEM 4.F. of the Declarations on behalf of the Insured any Loss and
                               Defense Expenses which the Insured is legally obligated to pay as a
                               result of a covered Claim for a Sexual Misconduct/Physical Abuse
                               Wrongful Act happening on or after the Retroactive Date; provided,
                               that the Claim is first made against the Insured during the Policy
                               Period or applicable Extended Reporting Period and reported to the
                               Underwriter in accordance with GENERAL CONDITION (C) of this Policy.

        (5)    Subparagraph (1) of the term “Loss,” as defined in Section II DEFINITIONS of this Policy,
               is amended to read in its entirety as follows:

                       (1)     for the purposes of INSURING AGREEMENTS (A), (B), (C) and (G), any
                               damages, settlements, judgments or other amounts (including punitive or
                               exemplary damages if insurable under the applicable law most favorable to
                               the insurability thereof) in excess of the applicable deductible or self-
                               insured retention, if any, stated in ITEM 4 of the Declarations which an
                               Insured is legally obligated to pay as a result of a Claim;

        (6)    The term “Wrongful Act,” as defined in Section II DEFINITIONS of this Policy, is
               amended to include any Sexual Misconduct/Physical Abuse Wrongful Act.

        (7)    The following term shall have the meaning set forth below and Section II DEFINITIONS of
               this Policy shall be deemed amended to include such term:

                       “Sexual Misconduct/Physical Abuse Wrongful Act” means:

                       (1)     any alleged welcome or unwelcome conduct, physical acts, gestures or
                               spoken or written words of a sexual nature, including without limitation
                               sexual intimacy (even if consensual), sexual molestation, sexual assault,
                               sexual battery, sexual abuse, sexual harassment, sexual exploitation or any
                               sexual act, (“Sexual Misconduct”) by an Insured;




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                       (2)      any alleged or threatened physical abuse of any person (“Physical Abuse”)
                                by an Insured;

                       (3)      the failure of any Insured, or of any person for whom the Insured is
                                legally responsible, to prevent or suppress the conduct described in
                                subparagraph (1) or (2) above;

                       (4)      the negligent employment, investigation, supervision, retention, or
                                reporting to the proper authorities (or failing to so report) of any person
                                whose conduct is described in subparagraph (1) or (2) above by an
                                Insured; or

                       (5)      any “Sexual Misconduct” or “Physical Abuse” by a person, other than an
                                Insured, for whose actions the Named Insured is legally responsible.
                                In no event shall this Policy provide coverage for the direct liability of any
                                person other than an Insured for “Sexual Misconduct” or “Physical
                                Abuse.”

        (8)    Solely with respect to INSURING AGREEMENT (G) of this Policy, Section III EXCLUSIONS
               (D)(2) of this Policy is amended to read in its entirety as follows:

                       (2)      act, error, omission, Wrongful Act, event, suit or demand which was the
                                subject of any notice given under any policy of insurance or plan or program
                                of self-insurance in effect prior to the Inception Date set forth in ITEM 2 of
                                the Declarations;

        (9)    Section III EXCLUSIONS (D)(4) of this Policy will not apply to Defense Expenses incurred
               in connection with any civil Claim otherwise covered under INSURING AGREEMENT (G) of
               this Policy unless the dishonest, fraudulent, criminal or intentionally malicious act, error or
               omission or willful violation of law, statute, rule or regulation by an Insured, or the
               gaining of any profit, remuneration or advantage by an Insured to which such Insured
               was not legally entitled, has been established by an admission or final adjudication in any
               judicial, administrative or alternative dispute resolution proceeding.

        (10)   In addition to, and not in limitation of, the EXCLUSIONS set forth in Section III
               EXCLUSIONS of this Policy, no coverage will be available under INSURING AGREEMENT
               (A), (B) or (C) of this Policy for any Claim based upon, arising out of, directly or indirectly
               resulting from, in consequence of, or in any way involving any actual or alleged Sexual
               Misconduct/Physical Abuse Wrongful Act.

        (11)   In addition to, and not in limitation of, the EXCLUSIONS set forth in Section III
               EXCLUSIONS of this Policy, no coverage will be available under INSURING AGREEMENT (G)
               of this Policy for any Claim based upon, arising out of, directly or indirectly resulting from,
               in consequence of, or in any way involving any actual or alleged:

               (a)     Sexual Misconduct/Physical Abuse Wrongful Act that happened before the
                       Retroactive Date;

               (b)     Professional Services Wrongful Act, except to the extent such Professional
                       Services Wrongful Act is alleged in connection with a Sexual
                       Misconduct/Physical Abuse Wrongful Act;

               (c)     Bodily Injury, Property Damage, Advertising Injury or Personal Injury,



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                      except to the extent such Bodily Injury, Property Damage, Advertising
                      Injury or Personal Injury is alleged in connection with a Sexual
                      Misconduct/Physical Abuse Wrongful Act;

               (d)    Employee Benefit Wrongful Act; or

               (e)    Sexual Misconduct/Physical Abuse Wrongful Act with respect to any
                      Insured who knew about such Sexual Misconduct/Physical Abuse Wrongful
                      Act and failed to prevent or stop it or knew that the Insured who allegedly
                      committed such Sexual Misconduct/Physical Abuse Wrongful Act had a prior
                      history of actually or allegedly committing Sexual Misconduct/Physical Abuse
                      Wrongful Acts.

        (12)   Section IV GENERAL CONDITIONS (A) of this Policy is amended to read in its entirety as
               follows:

                      (A)     Limits of Liability

                      (1)     Insuring Agreement (A) – Professional Liability

                              (a)     The “Each Claim” amount stated in ITEM 4.A. of the Declarations
                                      will be the Underwriter’s maximum Limit of Liability for all Loss
                                      resulting from each Claim or Related Claims for which this
                                      Policy provides coverage under INSURING AGREEMENT (A).

                              (b)     The “Aggregate for all Claims” amount stated in ITEM 4.A. of the
                                      Declarations will be the Underwriter’s maximum Limit of Liability
                                      for all Loss resulting from all Claims or Related Claims for
                                      which this Policy provides coverage under INSURING AGREEMENT
                                      (A).

                      (2)     Insuring Agreement (B) – General Liability

                              (a)     The “Each Claim” amount stated in ITEM 4.B. of the Declarations
                                      will be the Underwriter’s maximum Limit of Liability for all Loss
                                      resulting from each Claim or Related Claims for which this
                                      Policy provides coverage under INSURING AGREEMENT (B).

                              (b)     The Underwriter’s Limits of Liability for Claims alleging Bodily
                                      Injury or Property Damage included in the Products and
                                      Completed Operations Hazard shall be equal to, part of, and
                                      not in addition to, the “Each Claim” and “Aggregate for all Claims”
                                      amounts stated in ITEM 4.B. of the Declarations.

                              (c)     The “Damage to Rented Premises” amount stated in ITEM 4.B. of
                                      the Declarations will be the Underwriter’s maximum aggregate
                                      Limit of Liability for all (i) Claims for Property Damage resulting
                                      from any and all fires caused by the Insured’s negligence and
                                      occurring on premises rented to the Insured or temporarily
                                      occupied by the Insured with the permission of the owner of such
                                      premises and (ii) Claims for Property Damage (other than
                                      damage caused by fire) to premises, including the contents of such
                                      premises, rented to the Insured for a period of seven (7) or fewer



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                                   consecutive days. Such amount shall be part of, and not in
                                   addition to, the “Aggregate for all Claims” amount stated in ITEM
                                   4.B. of the Declarations.

                           (d)     The “Aggregate for all Claims” amount stated in ITEM 4.B. of the
                                   Declarations will be the Underwriter’s maximum Limit of Liability
                                   for all Loss resulting from all Claims or Related Claims for
                                   which this Policy provides coverage under INSURING AGREEMENT
                                   (B).

                     (3)   Insuring Agreement (C) – Employee Benefit Liability

                           (a)     The “Each Claim” amount stated in ITEM 4.C. of the Declarations
                                   will be the Underwriter’s maximum Limit of Liability for all Loss
                                   resulting from each Claim or Related Claims for which this
                                   Policy provides coverage under INSURING AGREEMENT (C).

                           (b)     The “Aggregate for all Claims” amount stated in ITEM 4.C. of the
                                   Declarations will be the Underwriter’s maximum Limit of Liability
                                   for all Loss resulting from all Claims or Related Claims for
                                   which this Policy provides coverage under INSURING AGREEMENT
                                   (C).

                     (4)   Insuring Agreement (D) – Evacuation Expense

                           (a)     The “Each Evacuation” amount stated in ITEM 4.D. of the
                                   Declarations will be the Underwriter’s maximum Limit of Liability
                                   for all Loss resulting from each Evacuation for which this Policy
                                   provides coverage under INSURING AGREEMENT (D).

                           (b)     The “Aggregate for all Evacuations” amount stated in ITEM 4.D. of
                                   the Declarations will be the Underwriter’s maximum Limit of
                                   Liability for all Loss resulting from all Evacuations for which this
                                   Policy provides coverage under INSURING AGREEMENT (D).

                     (5)   Insuring Agreement (E) – Legal/Media Expense

                           (a)     The “Each Legal Defense Proceeding” amount stated in ITEM 4.E.
                                   of the Declarations will be the Underwriter’s maximum Limit of
                                   Liability for all Loss resulting from each Legal Defense
                                   Proceeding for which this Policy provides coverage under
                                   INSURING AGREEMENT (E).

                           (b)     The “Aggregate for all Legal Defense Proceedings” amount stated
                                   in ITEM 4.E. of the Declarations will be the Underwriter’s
                                   maximum Limit of Liability for all Loss resulting from all Legal
                                   Defense Proceedings for which this Policy provides coverage
                                   under INSURING AGREEMENT (E).

                     (6)   Insuring Agreement (G) – Sexual Misconduct/Physical Abuse Liability

                           (a)     The “Each Claim” amount stated in ITEM 4.F. of the Declarations
                                   will be the Underwriter’s maximum Limit of Liability for all Loss



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                                   and Defense Expenses resulting from each Claim or Related
                                   Claims for which this Policy provides coverage under INSURING
                                   AGREEMENT (G).

                           (b)     The “Aggregate for all Claims” amount stated in ITEM 4.F. of the
                                   Declarations will be the Underwriter’s maximum Limit of Liability
                                   for all Loss and Defense Expenses resulting from all Claims or
                                   Related Claims for which this Policy provides coverage under
                                   INSURING AGREEMENT (G).

                     (7)   Each Limit of Liability described in paragraphs (1) through (6) above shall
                           apply regardless of the time of payment by the Underwriter, the number of
                           persons or entities included within the definition of Insured, or the
                           number of claimants, and regardless of whether such Claim or Related
                           Claims is/are first made during the Policy Period or during any Extended
                           Reporting Period.

                     (8)   (a)     The Insured shall be responsible for payment in full of the
                                   applicable deductible or self-insured retention stated in ITEM 4 of
                                   the Declarations, and the Underwriter’s obligation to pay Loss or
                                   Defense Expenses under this Policy shall be excess of such
                                   deductible or self-insured retention; provided, that no deductible
                                   or self-insured retention shall apply to (i) Claims for Property
                                   Damage resulting from any fire caused by the Insured’s
                                   negligence and occurring on premises rented to the Insured or
                                   temporarily occupied by the Insured with the permission of the
                                   owner of such premises or (ii) Claims for Property Damage
                                   (other than damage caused by fire) to premises, including the
                                   contents of such premises, rented to the Insured for a period of
                                   seven (7) or fewer consecutive days, and which are subject to the
                                   “Damage to Rented Premises” Limit of Liability set forth in ITEM
                                   4.B. of the Declarations. The applicable deductible or self-insured
                                   retention shall apply to each Claim or Related Claims (subject to
                                   the applicable aggregate deductible or self-insured retention
                                   amount, if any), and shall be eroded (or exhausted) by the
                                   Insured’s payment of Loss or Defense Expenses. The
                                   Underwriter shall have no obligation whatsoever, either to the
                                   Insured or any other person or entity, to pay all or any portion of
                                   the applicable deductible or self-insured retention on behalf of the
                                   Insured. The Underwriter shall, however, at its sole discretion,
                                   have the right and option to do so, in which event the Insured
                                   will repay the Underwriter any amounts so paid.

                           (b)     If a “Deductible” is selected under any Insuring Agreement in
                                   ITEM 4 of the Declarations, any amounts paid within such
                                   deductible will reduce, and may exhaust, the applicable Limits of
                                   Liability for such Insuring Agreement.

                                   If a “Self-Insured Retention” is selected under any Insuring
                                   Agreement in ITEM 4 of the Declarations, any amounts paid
                                   within such self-insured retention will not reduce the applicable
                                   Limits of Liability for such Insuring Agreement.




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                      (9)     All Insureds under this Policy share the Limits of Liability. In no event will
                              the number of Insureds involved in a Claim or Related Claims increase
                              the applicable Limit of Liability.

                      (10)    In the event a Claim under this Policy involves more than one (1) Insuring
                              Agreement hereunder, it is understood and agreed that only one (1)
                              deductible or self-insured retention and one (1) Limit of Liability will apply
                              to such Claim, which shall be the highest applicable “Each Claim” Limit of
                              Liability stated in ITEM 4 of the Declarations and the deductible or self-
                              insured retention corresponding to such Limit of Liability.

                      (11)    In the event any Claim covered under INSURING AGREEMENT (G) of this
                              Policy also contains allegations of Professional Services Wrongful
                              Acts, Bodily Injury, Property Damage, Advertising Injury or
                              Personal Injury caused by Occurrences, or Employee Benefit
                              Wrongful Acts, it is understood and agreed that only the deductible or
                              self-insured retention and Limits of Liability stated in ITEM 4.F. of the
                              Declarations will apply to such Claims.

                      (12)    If any Claim made against the Insureds gives rise to coverage both
                              under this Policy and under any other policy or policies issued by the
                              Underwriter or any affiliate of the Underwriter, the Underwriter’s and, if
                              applicable, such affiliate’s maximum aggregate limit of liability under all
                              such policies for all Loss in respect of such Claim will not exceed the
                              largest single available limit of liability under any such policy, including this
                              Policy. In no event will more than one policy issued by the Underwriter
                              respond to a Claim.

        (13)   Each reference to the phrase “INSURING AGREEMENT (A) or (C)” in Section IV GENERAL
               CONDITIONS (C)(1) and (C)(2) of this Policy is replaced with the phrase “INSURING
               AGREEMENT (A), (C) or (G)”.

        (14)   Solely with respect to INSURING AGREEMENT (G) of this Policy, Section IV GENERAL
               CONDITIONS (D)(2) of this Policy is amended to read in its entirety as follows:

                      (2)     The Underwriter will have no obligation to pay Loss or Defense
                              Expenses, or continue to direct the defense of any Insured, after the
                              applicable Limit of Liability has been exhausted by the payment of Loss
                              and/or Defense Expenses.

        (15)   Each reference to the phrase “INSURING AGREEMENT (A) and (C)” in Section IV GENERAL
               CONDITIONS (H) of this Policy is replaced with the phrase “INSURING AGREEMENT (A),
               (C) and (G)”.

        (16)   Section IV GENERAL CONDITIONS (M) of this Policy is amended to read in its entirety as
               follows:

                      (M)     Exhaustion:

                              If the Underwriter’s applicable Aggregate Limit of Liability for INSURING
                              AGREEMENTS (A), (B) or (C) of this Policy, as set forth in ITEM 4 of the
                              Declarations, is exhausted by the payment of Loss, all obligations of the
                              Underwriter under such INSURING AGREEMENT will be completely fulfilled



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                                 and exhausted, including any obligation to pay Defense Expenses or to
                                 continue to direct the defense of any Insured, and the Underwriter will
                                 have no further obligations of any kind or nature whatsoever under such
                                 INSURING AGREEMENT.

                                 If the Underwriter’s Aggregate Limit of Liability for INSURING AGREEMENT
                                 (G) of this Policy, as set forth in ITEM 4.F. of the Declarations, is
                                 exhausted by the payment of Loss and/or Defense Expenses, all
                                 obligations of the Underwriter under such INSURING AGREEMENT will be
                                 completely fulfilled and exhausted, including any obligation to continue to
                                 direct the defense of any Insured, and the Underwriter will have no
                                 further obligations of any kind or nature whatsoever under such INSURING
                                 AGREEMENT.

                                 If all of the Underwriter’s applicable Limits of Liability are exhausted by the
                                 payment of Loss and/or Defense Expenses, as applicable, the premium
                                 will be fully earned, all obligations of the Underwriter under this Policy will
                                 be completely fulfilled and exhausted, including any obligation to pay
                                 Defense Expenses or to continue to direct the defense of any Insured,
                                 and the Underwriter will have no further obligations of any kind or nature
                                 whatsoever under this Policy.


        All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                               ENDORSEMENT NO. 12

                                    RATE STABILIZATION ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.       MFL-004062-0617
               Issued by        Homeland Insurance Company of New York
               Issued to        Sonic Healthcare Investments, G.P.

        In consideration of the premium charged:

        (1)     It is understood and agreed that, unless there is a Material Change In Exposure or a
                Material Change in Loss Picture, as such terms are defined below, the Underwriter
                agrees to renew this Policy, upon the same terms, conditions, limits and retention(s), at
                a rate that shall not exceed the rate used to determine the premium charged for this
                Policy.

        (2)     For purposes of this endorsement, the term “Material Change In Exposure” means:

                (a)         any material change in the operations of the First Named Insured or any other
                            Named Insured;

                (b)         during the Policy Period, any material change in the type, character, scope or
                            extent of the services rendered by the First Named Insured or any other
                            Named Insured from the type, character, scope or extent of the services
                            described in the application(s) and any additional information submitted with
                            such application(s) by the Named Insured in connection with this Policy;

                (c)         during the Policy Period, any change in the ownership, control or management
                            of the First Named Insured or any other Named Insured; or

                (d)         the total number of tests (i) performed by the Insured, and (ii) projected to be
                            performed by the Insured, during the Policy Period is more than ten percent
                            (10%) greater than 112,386,536.

        (3)     It is understood and agreed that in the event the Named Insured acquires any entity
                during the Policy Period, such acquisition shall not constitute a Material Change in
                Exposure and any entity so acquired shall be afforded the same policy rate as the rate
                used to compute the premium charged for this Policy; provided, that any entity so
                acquired is located in similar geographic areas and conducts substantially similar
                operations as the First Named Insured or any other Named Insured.

                In the event the Named Insured acquires any entity during the Policy Period that is
                not located in similar geographic areas or does not conduct substantially similar
                operations as the First Named Insured or any other Named Insured, then any such
                acquisition shall constitute a Material Change in Exposure.

        (4)     For purposes of this endorsement, the term “Material Change in Loss Picture” means
                a “net incurred loss ratio” of greater than forty percent (40%) under this Policy and all
                policies issued by the Underwriter of which this Policy is a direct or indirect renewal. For
                purposes of this endorsement, “net incurred loss ratio” means the ratio of all paid and
                reserved losses (indemnity and loss adjustment expenses) under this Policy and all



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                policies issued by the Underwriter of which this Policy is a direct or indirect renewal, net
                of any deductible(s), divided by the total amount of written premium for this Policy and
                all policies issued by the Underwriter of which this Policy is a direct or indirect renewal.

        (5)     In order to determine whether there has been a Material Change in Loss Picture, the
                Underwriter will use its paid and reserved losses under this Policy and all policies issued
                by the Underwriter of which this Policy is a direct or indirect renewal, valued as of April
                30, 2017.

        (6)     If:

                (a)     there is a Material Change in Exposure; or

                (b)     there is a Material Change in Loss Picture,

                it is understood and agreed that the Underwriter:

                (i)     will have no obligation to renew this Policy upon its expiration with the same
                        terms, conditions, limits and retention(s), or using a rate that is no higher than
                        the rate used to calculate the premium charged for this Policy; and

                (ii)    in its sole discretion, may offer to renew this Policy upon terms, conditions and
                        limitations, and for such premium, as the Underwriter deems appropriate.

        (7)     Nothing in this endorsement is intended, nor shall it be construed, to affect the
                Underwriter’s right to cancel or non-renew coverage in accordance with Section IV
                GENERAL CONDITIONS (I) of this Policy.


        All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                ENDORSEMENT NO. 13

         AMEND GENERAL CONDITION (E) WORLDWIDE TERRITORY ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.         MFL-004062-0617
               Issued by          Homeland Insurance Company of New York
               Issued to          Sonic Healthcare Investments, G.P.


        In consideration of the premium charged:

        (1)     Subject to paragraph (2) below and solely for the purposes of the coverage afforded
                under INSURING AGREEMENT (A) of this Policy, Section IV GENERAL CONDITIONS (E) of
                this Policy is amended to add the following at the end thereof:

                            (1)      Subject to the further provisions of this GENERAL CONDITION (E), if a
                                     Claim is made against an Insured outside the United States of
                                     America, including its territories or possessions, Puerto Rico or Canada,
                                     the Underwriter will have the right but not the duty to defend,
                                     investigate or settle such Claim. If the Underwriter elects not to
                                     defend, investigate or settle such Claim, the Insured shall be obligated
                                     to initiate such defense and investigation as is reasonably necessary and,
                                     subject to the Underwriter’s prior written consent, may effect settlement.
                                     The Underwriter will reimburse the Insured, up to the applicable Limit
                                     of Liability, for reasonable Defense Expenses and Loss, subject to the
                                     deductible or self-insured retention set forth in ITEM 4.A. of the
                                     Declarations and all other provisions of this Policy.

                            (2)      All monetary terms in this Policy are in U.S. dollars. In the event the
                                     Insured incurs Loss or Defense Expenses in currency other than U.S.
                                     dollars, the Underwriter will reimburse the Insured for such amounts in
                                     U.S. dollars at the prevailing exchange rate at the time such Loss or
                                     Defense Expenses were incurred.

                            (3)      No coverage will be available under this Policy for Loss or Defense
                                     Expenses for any Claim made against an Insured in any country or
                                     jurisdiction which is the subject of trade or economic sanctions or
                                     embargo imposed by the laws or regulations of the United States of
                                     America to the extent such sanctions or embargo prohibit or limit this
                                     insurance.

        (2)     It is understood and agreed that the amendment to Section IV GENERAL CONDITION (E)
                set forth in paragraph (1) above does not apply to Claims made against any Named
                Insured that is domiciled outside the United States of America, including its territories or
                possessions, Puerto Rico or Canada. Accordingly, no coverage will be available under
                this Policy for Loss or Defense Expenses for any Claim made outside the United
                States of America, including its territories or possessions, Puerto Rico or Canada against
                any Named Insured that is domiciled outside the United States of America, including its
                territories or possessions, Puerto Rico or Canada.

        All other terms, conditions and limitations of this Policy shall remain unchanged.



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                                              ENDORSEMENT NO. 14

                                            DELETE ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.    MFL-004062-0617
               Issued by     Homeland Insurance Company of New York
               Issued to     Sonic Healthcare Investments, G.P.


        In consideration of the premium charged, Endorsement No.

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        to this Policy is deleted in its entirety and shall be of no force or effect from and after the
        effective date of this Endorsement.


        All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                               ENDORSEMENT NO. 15

                                    RATE STABILIZATION ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.       MFL-004062-0617
               Issued by        Homeland Insurance Company of New York
               Issued to        Sonic Healthcare Investments, G.P.

        In consideration of the premium charged:

        (1)     It is understood and agreed that, unless there is a Material Change In Exposure or a
                Material Change in Loss Picture, as such terms are defined below, the Underwriter
                agrees to renew this Policy, upon the same terms, conditions, limits and retention(s), at
                a rate that shall not exceed the rate used to determine the premium charged for this
                Policy.

        (2)     For purposes of this endorsement, the term “Material Change In Exposure” means:

                (a)         any material change in the operations of the First Named Insured or any other
                            Named Insured;

                (b)         during the Policy Period, any material change in the type, character, scope or
                            extent of the services rendered by the First Named Insured or any other
                            Named Insured from the type, character, scope or extent of the services
                            described in the application(s) and any additional information submitted with
                            such application(s) by the Named Insured in connection with this Policy;

                (c)         during the Policy Period, any change in the ownership, control or management
                            of the First Named Insured or any other Named Insured; or

                (d)         the total number of tests (i) performed by the Insured, and (ii) projected to be
                            performed by the Insured, during the Policy Period is more than ten percent
                            (10%) greater than 156,488,074.

        (3)     It is understood and agreed that in the event the Named Insured acquires any entity
                during the Policy Period, such acquisition shall not constitute a Material Change in
                Exposure and any entity so acquired shall be afforded the same policy rate as the rate
                used to compute the premium charged for this Policy; provided, that any entity so
                acquired is located in similar geographic areas and conducts substantially similar
                operations as the First Named Insured or any other Named Insured.

                In the event the Named Insured acquires any entity during the Policy Period that is
                not located in similar geographic areas or does not conduct substantially similar
                operations as the First Named Insured or any other Named Insured, then any such
                acquisition shall constitute a Material Change in Exposure.

        (4)     For purposes of this endorsement, the term “Material Change in Loss Picture” means
                a “net incurred loss ratio” of greater than forty percent (40%) under this Policy and all
                policies issued by the Underwriter of which this Policy is a direct or indirect renewal. For
                purposes of this endorsement, “net incurred loss ratio” means the ratio of all paid and
                reserved losses (indemnity and loss adjustment expenses) under this Policy and all



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                policies issued by the Underwriter of which this Policy is a direct or indirect renewal, net
                of any deductible(s), divided by the total amount of written premium for this Policy and
                all policies issued by the Underwriter of which this Policy is a direct or indirect renewal.

        (5)     In order to determine whether there has been a Material Change in Loss Picture, the
                Underwriter will use its paid and reserved losses under this Policy and all policies issued
                by the Underwriter of which this Policy is a direct or indirect renewal, valued as of April
                30, 2018.

        (6)     If:

                (a)     there is a Material Change in Exposure; or

                (b)     there is a Material Change in Loss Picture,

                it is understood and agreed that the Underwriter:

                (i)     will have no obligation to renew this Policy upon its expiration with the same
                        terms, conditions, limits and retention(s), or using a rate that is no higher than
                        the rate used to calculate the premium charged for this Policy; and

                (ii)    in its sole discretion, may offer to renew this Policy upon terms, conditions and
                        limitations, and for such premium, as the Underwriter deems appropriate.

        (7)     Nothing in this endorsement is intended, nor shall it be construed, to affect the
                Underwriter’s right to cancel or non-renew coverage in accordance with Section IV
                GENERAL CONDITIONS (I) of this Policy.


        All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                                  ENDORSEMENT NO. 16

                                                 DELETE ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on July 19, 2017                 , forms part of:

           Policy No.     MFL-004062-0617
           Issued by      Homeland Insurance Company of New York
           Issued to      Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Endorsement No.

     4      HPE-00064-07-11                  Notice of Cancellation to Scheduled Party

     to this Policy is deleted in its entirety and shall be of no force or effect from and after the effe ctive date of this
     Endorsement.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00034-08-09                                                                                             Page 1 of 1


CONFIDENTIAL                                                                                                 P2017_000063
                                                ENDORSEMENT NO. 17                                                     Ex. 6

                NOTICE OF CANCELLATION TO SCHEDULED PARTY ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on July 19, 2017              , forms part of:

           Policy No.    MFL-004062-0617
           Issued by     Homeland Insurance Company of New York
           Issued to     Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)     If the Underwriter cancels this Policy for any reason other than non-payment of premium, the
             Underwriter will endeavor to provide notice of such cancellation to the individual(s) or entity(ies)
             identified in the schedule below (each a “Scheduled Party”), at the address set forth next to the
             Scheduled Party’s name, when notice of cancellation is sent to the First Named Insured. In no event
             will the timing of notice to a Scheduled Party exceed the timing of notice to the First Named Insured.
             It is understood and agreed that notice of cancellation to a Scheduled Party is provided solely as a
             courtesy for the convenience of the First Named Insured and does not constitute a prerequisite to
             effective policy cancellation.

     (2)     Failure to provide notice of cancellation to a Scheduled Party shall impose no liability of any kind or
             nature whatsoever on the Underwriter and shall not amend or extend the effective date of policy
             cancellation or invalidate the cancellation.

      Scheduled Party:                                           Scheduled Party Address:

      State of Hawaii, Department of Public                      919 Ala Moana Boulevard, Honolulu,
        Safety, ASO-Purchasing and Contracts                       Hawaii 96814
        Staff
      County of Kern Public Health Services                      1800 Mount Vernon Avenue, 3rd Floor,
        Department                                                 Bakersfield, CA 93306-3302
      MediGold, Provider Credentialing                           6150 East Broad Street, Columbus, Ohio
                                                                   43213
      City of Dallas, Business Development &                     c/o CertFocus, PO Box 140528, Kansas
        Procurement Services, Project Number:                      City, MO 64114
        274201



     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00064-07-11                                                                                         Page 1 of 1


CONFIDENTIAL                                                                                             P2017_000064
                                                                                                                         Ex. 6

                                                  ENDORSEMENT NO. 18

                                                 DELETE ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                 , forms part of:

           Policy No.     MFL-004062-0617
           Issued by      Homeland Insurance Company of New York
           Issued to      Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Endorsement No.

     5      HPE-30017A-02-10                 Schedule of Insured Physicians and Locum Tenens
     1      HPE-00023-03-13                  Amend Prior Knowledge Exclusion (D)(1)

     to this Policy is deleted in its entirety and shall be of no force or effect from and after the effe ctive date of this
     Endorsement.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00034-08-09                                                                                             Page 1 of 1


CONFIDENTIAL                                                                                                 P2017_000065
                                                                                                                     Ex. 6

                                                  ENDORSEMENT NO. 19

                    AMEND PRIOR KNOWLEDGE EXCLUSION (D)(1) ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017               , forms part of

           Policy No.       MFL-004062-0617
           Issued by        Homeland Insurance Company of New York
           Issued to        Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Section III EXCLUSIONS (D)(1) of this Policy is amended to read in its
     entirety as follows:

             (1)        act, error, omission or Wrongful Act if, on or before the Inception Date set forth in ITEM 2 of
                        the Declarations, the
                        Risk Management Dept or Legal Dept or any Executive

                        of the Named Insured knew or reasonably could have foreseen that such act, error, omission,
                        or Wrongful Act might result in a Claim.

                        If, however, this Policy is a renewal of one or more policies previously issued by the Underwriter
                        to the First Named Insured, and the coverage provided by the Underwriter to the First
                        Named Insured was in effect, without interruption, for the entire time between the inception
                        date of the first such other policy and the Inception Date of this Policy, the reference in this
                        EXCLUSION (D)(1) to the Inception Date will be deemed to refer instead to the inception date of
                        the first policy under which the Underwriter began to provide the First Named Insured with
                        the continuous and uninterrupted coverage of which this Policy is a renewal;


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00023-03-13                                                                                         Page 1 of 1


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                                                                                                               Ex. 6



                                               ENDORSEMENT NO. 20

          SCHEDULE OF INSURED PHYSICIANS AND LOCUM TENENS ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on June 30, 2017, forms part of

               Policy No.       MFL-004062-0617
               Issued by        Homeland Insurance Company of New York
               Issued to        Sonic Healthcare Investments, G.P.

        In consideration of the premium charged:

        (1)     Notwithstanding anything to the contrary contained in this Policy or any endorsement
                thereto, the term “Insured,” as defined in Section II DEFINITIONS of this Policy, is
                amended to include the physician(s) scheduled below, but only while rendering
                Professional Services on behalf of, and within the scope and capacity of his or her
                duties for, the Named Insured.

                SCHEDULE

                Name                              Retroactive Date Specialty
                 On File with Company              Date of Hire              Physicians

        (2)     The term “Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to
                include any Locum Tenens, but only when such Locum Tenens is acting within the
                capacity and scope of his or her duties as such. Coverage for any Locum Tenens shall
                only extend for up to sixty (60) days during the Policy Period per Insured physician
                for whom such Locum Tenens is serving as a substitute.

        (3)     Section II DEFINITIONS of this Policy is amended to include the following term:

                            “Locum Tenens” means any physician who is temporarily serving as a
                            substitute physician for an Insured physician scheduled in paragraph (1) above
                            while such Insured physician is temporarily absent from professional practice.

        (4)     No coverage will be available under this Policy for Loss or Defense Expenses for any
                Claim based upon, arising out of, directly or indirectly resulting from, in consequence of,
                or in any way involving any actual or alleged Professional Services Wrongful Act
                committed or allegedly committed by any Insured physician scheduled in paragraph (1)
                above:

                (a)         prior to the Retroactive Date set forth opposite such Insured physician’s name;
                            or

                (b)         on or after (i) the date such Insured physician ceased to be an employee of the
                            Named Insured or (ii) the termination date of the contract or agreement under
                            which such Insured physician was rendering Professional Services on behalf
                            of the Named Insured.


        (5)     It is understood and agreed that the Insured physicians scheduled in paragraph (1)
                above and any Locum Tenens share in the applicable Limits of Liability set forth in
                ITEM 4 of the Declarations.



        HPE-30017A-02-10                                   1

CONFIDENTIAL                                                                                           P2017_000067
                                                                                                     Ex. 6




        All other terms, conditions and limitations of this Policy shall remain unchanged.




        HPE-30017A-02-10                                 2

CONFIDENTIAL                                                                                 P2017_000068
                                                                                                                         Ex. 6

                                                  ENDORSEMENT NO. 21

                                                 DELETE ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                 , forms part of:

           Policy No.     MFL-004062-0617
           Issued by      Homeland Insurance Company of New York
           Issued to      Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Endorsement No.

     3      HPE-00063-04-11                  Additional Named Insured - Related to Original Named Insured

     to this Policy is deleted in its entirety and shall be of no force or effect from and after the effe ctive date of this
     Endorsement.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00034-08-09                                                                                             Page 1 of 1


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                                                                                                                  Ex. 6

                                                ENDORSEMENT NO. 22

           ADDITIONAL NAMED INSURED – RELATED TO ORIGINAL NAMED INSURED
                                  ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on June 30, 2017               , forms part of:

           Policy No.       MFL-004062-0617
           Issued by        Homeland Insurance Company of New York
           Issued to        Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)    The term “Named Insured,” as defined in Section II DEFINITIONS of this Policy, is amended to include
            the entity(ies) scheduled below (each an “Additional Named Insured”), but solely:

            (a)         with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                        is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                        Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                        on behalf of, and within the capacity and scope of its duties for

                        Sonic Healthcare Investments, G.P.

                        ; and

            (b)         for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                        Named Insured in the schedule below and Occurrences happening on or after the effective date
                        of this endorsement:

            SCHEDULE


             Additional Named Insured:                                                 Retroactive Date:
             Sonic Healthcare USA, Inc                                                 February 05, 2007
             Sunrise Medical Laboratories, Inc                                         March 05, 1995
             Clinical Pathology Laboratories, Inc                                      October 01, 2000
             Mullins Pathology & Cytology Laboratory,                                  April 30, 2007
               Inc
             Woodbury Clincal Pathology, Inc                                           January 05, 1992
             Memphis Pathology Laboratory                                              January 07, 2007
             Clinical Laboratory Services, Inc                                         January 07, 2007
             Fairfax Medical Laboratories, Inc                                         June 19, 2006
             Pathology Laboratories, Inc dba Lima                                      March 01, 1987
               Pathology Laboratories
             Cognoscenti Health Institute, LLC                                         September 01, 2006
             DRL Labs, Ltd. Completely merged into                                     March 28, 2003
               Clinical Pathology as of 03/28/2003
             American Esoteric Laboratories, Inc.                                      TBD
               Closed Lab in March 2007 - Continues


     HPE-00063-04-11                                                                                        Page 1 of 2


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                                                                                                                    Ex. 6


             Additional Named Insured:                                                   Retroactive Date:
               as a holding company
             Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
             American Clinical Services                                                  February 01, 2004
             Clinical Pathology Laboratories                                             March 29, 2010
               Southwest, Inc
             Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
             Pan Pacific Pathologists, LLC                                               August 01, 1985
             East Side Clinical Laboratory, Inc                                          June 30, 1990
             Physician's Automated Laboratory, Inc.                                      June 01, 1989
             CBLPath Holdings Corp                                                       May 01, 2004
             CBLPath Inc                                                                 July 01, 2004
             CBLPath Transport, Inc.                                                     January 01, 2007
             Sonic Healthcare Limited                                                    February 05, 2007
             Douglass Hanly Moir Pathology Pty                                           February 05, 2007
               Limited
             Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
             Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
             Sonic Reference Laboratory Inc                                              December 01, 2014
             Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
               date 06.30.2013)
             Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
             Clinical Pathology Laboratories,                                            March 29, 2010
               Southeast, Inc
             Memphis Pathology Holdings, LLC                                             September 23, 2016
             BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016
             Sonic Hawaii Holdings, Inc.                                                 July 14, 2008
             Sonic USA Holdings, Inc.                                                    July 14, 2008
             MPL Holdings, Inc.                                                          January 08, 2007
             AEL of Memphis, LLC                                                         January 08, 2007
             Sonic Pathology Group, Inc.                                                 August 12, 2015
             Connecticut Laboratory Partnership                                          December 22, 2016

     (2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
             Liability set forth in ITEM 4 of the Declarations.

     (3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
             intent of this endorsement.


     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00063-04-11                                                                                          Page 2 of 2


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                                                                                                                          Ex. 6

                                                  ENDORSEMENT NO. 23

                                                 DELETE ENDORSEMENT

     This Endorsement, which is effective at 12:01 a.m. on February 13, 2018             , forms part of:

           Policy No.     MFL-004062-0617
           Issued by      Homeland Insurance Company of New York
           Issued to      Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, Endorsement No.

     22     HPE-00063-04-11                   Additional Named Insured - Related to Original Named Insured

     to this Policy is deleted in its entirety and shall be of no force or effect from and after the effe ctive date of this
     Endorsement.


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-00034-08-09                                                                                             Page 1 of 1


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                                                                                                                   Ex. 6

                                                ENDORSEMENT NO. 24

           ADDITIONAL NAMED INSURED RELATED TO ORIGINAL NAMED INSURED
                                  ENDORSEMENT

     This Endorsement, effective at 12:01 a.m. on February 13, 2018           , forms part of:

           Policy No.       MFL-004062-0617
           Issued by        Homeland Insurance Company of New York
           Issued to        Sonic Healthcare Investments, G.P.



     In consideration of the premium charged:

     (1)    T           Named Insured                    in Section II DEFINITIONS of this Policy, is amended to include
            the entity(ies) scheduled below                                         , but solely:

            (a)         with respect to liability imposed or sought to be imposed on such Additional Named Insured that
                        is based on or arises out of acts, errors or omissions committed or allegedly committed by such
                        Additional Named Insured when and to the extent that, such Additional Named Insured is acting
                        on behalf of, and within the capacity and scope of its duties for

                        Sonic Healthcare Investments, G.P.

                        ; and

            (b)         for Wrongful Acts happening on or after the Retroactive Date identified for each Additional
                        Named Insured in the schedule below and Occurrences happening on or after the effective date
                        of this endorsement:

            SCHEDULE

             Additional Named Insured:                                                 Retroactive Date:
             Sonic Healthcare USA, Inc                                                 February 05, 2007
             Sunrise Medical Laboratories, Inc                                         March 05, 1995
             Clinical Pathology Laboratories, Inc                                      October 01, 2000
             Mullins Pathology & Cytology Laboratory,                                  April 30, 2007
                Inc
             Woodbury Clincal Pathology, Inc                                           January 05, 1992
             Memphis Pathology Laboratory                                              January 07, 2007
             Clinical Laboratory Services, Inc                                         January 07, 2007
             Fairfax Medical Laboratories, Inc                                         June 19, 2006
             Pathology Laboratories, Inc dba Lima                                      March 01, 1987
                Pathology Laboratories
             Cognoscenti Health Institute, LLC                                         September 01, 2006
             DRL Labs, Ltd. Completely merged into                                     March 28, 2003
                Clinical Pathology as of 03/28/2003
             American Esoteric Laboratories, Inc.                                      TBD
                Closed Lab in March 2007 - Continues
                as a holding company


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                                                                                                                   Ex. 6


             Additional Named Insured:                                                   Retroactive Date:
             Piedmont Joint venture Laboratory, Inc                                      August 05, 2003
             American Clinical Services                                                  February 01, 2004
             Clinical Pathology Laboratories                                             March 29, 2010
                Southwest, Inc
             Clinical Laboratories of Hawaii, LLP                                        August 01, 1985
             Pan Pacific Pathologists, LLC                                               August 01, 1985
             East Side Clinical Laboratory, Inc                                          June 30, 1990
             Physician's Automated Laboratory, Inc.                                      June 01, 1989
             CBLPath Holdings Corp                                                       May 01, 2004
             CBLPath Inc                                                                 July 01, 2004
             CBLPath Transport, Inc.                                                     January 01, 2007
             Sonic Healthcare Limited                                                    February 05, 2007
             Douglass Hanly Moir Pathology Pty                                           February 05, 2007
                Limited
             Sonic Healthcare Internatoinal Pty Ltd                                      February 05, 2007
             Sonic Healthcare Pathology Pty Ltd                                          February 05, 2007
             Sonic Reference Laboratory Inc                                              December 01, 2014
             Sonic Healthcare (Ireland) Limited (term                                    August 01, 2010
                date 06.30.2013)
             Medlab Pathology (term date 06.30.2013)                                     August 01, 2010
             Clinical Pathology Laboratories,                                            March 29, 2010
                Southeast, Inc
             Memphis Pathology Holdings, LLC                                             September 23, 2016
             BMHSI/AEL Microbiology Laboratory, GP                                       October 26, 2016
             Sonic Hawaii Holdings, Inc.                                                 July 14, 2008
             Sonic USA Holdings, Inc.                                                    July 14, 2008
             MPL Holdings, Inc.                                                          January 08, 2007
             AEL of Memphis, LLC                                                         January 08, 2007
             Sonic Pathology Group, Inc.                                                 August 12, 2015
             Connecticut Laboratory Partnership, LLC                                     December 22, 2016

     (2)     It is understood and agreed that the Additional Named Insured(s) share in the applicable Limits of
             Liability set forth in ITEM 4 of the Declarations.

     (3)     ITEM 3 of the Declarations shall be deemed amended to the extent necessary to effect the purpose and
             intent of this endorsement.


     All other terms, conditions and limitations of the Policy shall remain unchanged.




     HPE-00063-04-11                                                                                          Page 2 of 2


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                                                                                                                          Ex. 6



                                                ENDORSEMENT NO. 25

          NON-MEDICAL ERRORS AND OMISSIONS WITH RETROACTIVE DATE AND
                 DEFENSE WITHIN LIMITS SUBLIMIT ENDORSEMENT

        This Endorsement, effective at 12:01 a.m. on March 13, 2018, forms part of

               Policy No.         MFL-004062-0617
               Issued by          Homeland Insurance Company of New York
               Issued to          Sonic Healthcare Investments, G.P.

        In consideration of the premium charged of    , solely with respect to the coverage afforded
        under Section I INSURING AGREEMENTS (A) of this Policy:

        (1)     The term “Professional Services,” as defined in Section II DEFINITIONS (KK) of this
                Policy, is amended to include the following at the end thereof:

                            (6)      Laboratory-based testing of medical marijuana and manufactured
                                     medical marijuana products for content, contamination, and consistency
                                     pursuant to HRS 329D-8 but only when performed by AEOS Labs, Inc.,
                                     which services are provided by the Insured on or after 03.13.2018 to
                                     others for a fee and require such Insured’s specialized training,
                                     knowledge and skill.

        (2)     No coverage will be available under this Policy for Loss or Defense Expenses for any
                Claim based upon, arising out of, directly or indirectly resulting from, in consequence of,
                or in any way involving any:

                (a)         Professional Services Wrongful Act committed or allegedly committed by an
                            Insured prior to 03.13.2018 in the rendering of, or failure to render,
                            Professional Services, as such term is defined in Section II DEFINITIONS
                            (KK)(6) of this Policy;

                (b)         actual or alleged legal services provided by an Insured as a lawyer or a notary
                            public;

                (c)         actual or alleged act, error or omission involving any architectural or engineering
                            services;

                (d)         fee disputes;

                (e)         actual or alleged act, error, omission or assumption committed or allegedly
                            committed by an Insured in the performance of, or failure to perform, actuarial
                            services;

                (f)         actual or alleged inaccurate, inadequate, or incomplete description of the price of
                            goods, products or services; or the Insured’s cost guarantees, cost
                            representations, contract price, or estimates of probable costs or cost estimates
                            being exceeded;

                (g)         future royalties or future profits, restitution, or disgorgement of profits by any
                            Insured; or




        HPE-30068-10-15                                                                                     Page 1 of 2


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                                                                                                                       Ex. 6



                (h)     return or offset of fees, charges, or commissions for goods or services already
                        provided or contracted to be provided.

        (3)     Section III EXCLUSIONS (D)(15) of this Policy is amended to read in its entirety as
                follows:

                        (15)     liability of any Insured for Managed Care Services; except this
                                 EXCLUSION (D)(15) will not apply to liability of an Insured for
                                 Professional Services. For purposes of this EXCLUSION (D)(15), the
                                 term “Professional Services” shall not include the definition ascribed
                                 to it in Section II DEFINITIONS (KK)(6) of this Policy;

        (4)     In the event the Insured performs services in connection with any clinical trial, it is
                understood and agreed that, subject to the terms, conditions and limitations of this
                Policy, the coverage afforded under this Policy, if any, shall apply to any such clinical trial
                only if such clinical trial is performed in accordance with the United States Food and Drug
                Administration (FDA) protocols.

        (5)      Notwithstanding anything to the contrary contained in this Policy, it is understood and
                agreed that, for the purposes of the coverage that may be provided under this
                endorsement, Defense Expenses are part of, and not in addition to, the Limits of
                Liability set forth in paragraph (6) below, and payment of Defense Expenses by the
                Underwriter will reduce, and may exhaust, such Limits of Liability.

        (6)     Solely with respect to Claims for Professional Services Wrongful Acts committed or
                allegedly committed by an Insured in the rendering of, or failure to render,
                Professional Services, as such term is defined in Section II DEFINITIONS (KK)(6) of
                this Policy, it is understood and agreed that the Underwriter’s maximum Limit of Liability
                for all Loss and Defense Expenses resulting from each such Claim shall be
                             , and the Underwriter’s maximum aggregate Limit of Liability for all Loss and
                Defense Expenses resulting from all such Claims shall be                     . Such Limits of
                Liability shall be part of, and not in addition to, the “Aggregate for all Claims” Limit of
                Liability for INSURING AGREEMENT (A) of this Policy, as set forth in ITEM 4.A. of the
                Declarations.

        (7)     This Policy shall be deemed amended to the extent necessary to effect the purpose and
                intent of this endorsement.




        All other terms, conditions and limitations of this Policy shall remain unchanged.




        HPE-30068-10-15                                                                                  Page 2 of 2


CONFIDENTIAL                                                                                              P2017_000076
                                                                                                                  Ex. 6

                                                ENDORSEMENT NO. 26

                 POLICY CHANGE ENDORSEMENT FOR ADMINISTRATIVE CHANGES

     This Endorsement, which is effective at 12:01 a.m. on April 09, 2018            , forms part of:

           Policy No.          MFL-004062-0617
           Issued by           Homeland Insurance Company of New York
           Issued to           Sonic Healthcare Investments, G.P.



     In consideration of the premium charged, the following item(s) on the Declarations to this Policy:

       [    ]    Policy Number

       [    ]    ITEM 1. First Named Insured

       [ X ]     ITEM 1. First Named Insured’s Principal Address

       [    ]    ITEM 2(a) Inception Date

       [    ]    ITEM 2(b) Expiration Date

       [    ]    ITEM 9. Policy Form and Endorsements Attached at
                 Issuance

     is/are amended as follows:

     12357-A Riata Trace Parkway, Suite 210
     Austin, Texas 78727

     Premium change for the above amendment(s):

     [ X ] No change      [   ] Additional Premium $ 0                          [   ] Return Premium $ 0


     All other terms, conditions and limitations of this Policy shall remain unchanged.




     HPE-30098-03-13                                                                                       Page 1 of 1


CONFIDENTIAL                                                                                            P2017_000077
